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A|pine Securities Corporation

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suspendedl expelled or had its registration denied or revoked by any domestic or foreign regulatory
bcdy, jurisdiction or organization or is associated in such a

capacity with a bank, trust company or other financial institution that was convicted of or pleaded no
contest to, any felony or misdemeanor in a domestic or foreign court;

~ is a defendant or respondent in any securities- or commodities-related civil litigation or arbitration, is a
defendant or respondent in any financial-related insurance civil litigation or arbitrationl or is the subject
of any claim for damages by a customer, broker or dealer that relates to the provision of financial
services or relates to a Hnanciai transaction, and such civil
litigation, arbitration or claim for damages has been disposed of by judgment, award or settlement for an
amount exceeding $15,000. However, when the member is the defendant or respondent or is the
subject of any claim for damages by a customerl broker or dealer, then the reporting to F|NRA shall be
required only when such judgment, award or settlement is for an amount exceeding $25.000; or

o is, or is involved in the sale of any financial instrument, the provision of any investment advice or the
financing of any such activities with any person who is, subject to a "statutory disqualification" as that
term is defined in the Exchange Act. The report shall include the name of the person subject to the
statutory disquaiincation and details concerning the disqualification;
or

2. an associated person of the member is the subject of any disciplinary action taken by the member involving
suspension, termination, the withholding of compensation or of any other remuneration in excess of $2,500l the
imposition of fines in excess of $2,500 or is otherwise disciplined in any manner that would have a significant
limitation on the individuals activities on a temporary or permanent basis.

3.14 Money Laundering

[F|NRA Ruie 3310; Bank Secrecy Act]

This section provides a brief overview of the empioyee's responsibilities concerning the prevention and detection
of money laundering Please refer to the chapter titled "Anti-Money Laundering (AML) Progiam" for more
detailed information about Aipine's AML Program.

3.14.1 Reports Of AML Non-Compiiance And Other Potential Crimes

Aii employees are obligated to promptly report to the AML Comp|iance Ofticer or designee any known or
suspected violations of anti-money laundering policies as weil as other suspected violations or crimes. if the
potential violation implicates the AML Oflicer, it should be reported to a senior officer of A|pine. Ai| reports are
confidential and the employee will suffer no retaliation for making them.

What to report: Crimes or suspected crimes by individuals (whether associated with Aipine. a customer, or
prospective customer) are required to be reported This includes suspicion that Aipine is being used as a
conduit for criminal activity such as money laundering or structuring transactions (discussed below) to evade the
Bank Secrecy Act reporting requirements There is no clear dennition of what constitutes a "crime." if you
believe some improper or illegal activity is occurring it is your obligation to be attentive and alert to the red flags
and report to the AML Comp|iance Ofticer or designee any new or existing customers who may be engaged in
violations of anti-money laundering regulations

SAR reports: By iaw, Aipine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a SAR.
Questions regarding SAR filings should be referred to Comp|iance if you become aware of an unauthorized
disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the Comp|iance
Department. Designated Comp|iance personnel will be responsible for contacting F|NCEN to report the
unauthorized disclosure

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3.1 4.2 |dentity Theft

identity thieves use someone‘s personal identifying information to open new accounts and misuse existing
accounts Aipine has established an identity Theft Prevention Program (lTPP) to help detect and prevent identity
theft. Many elements of detecting or preventing identity theft utilize similar techniques to that of the anti-money
laundering (AML) requirements included within these policies

The lTPP is based on identifying "red fiags" which may indicate an occurrence of identity theft. lt is the
responsibility of all employees to be attentive and alert to the red flags and report to the AML
Compliance Ofticer any new or existing customers who may be engaged in violations of anti-money
laundering regulations, identity theft or who have reported an instance of identity theft.

For a list of potential identity theft red fiags, refer to the section titled "Red Flag ldentiflcation and Detection Grid"
located in the identity Theft Prevention Program (FTC Fact Act Red Flags Rule) section.

3.14.3 Tape Recording of Registered Persons by Certain Firms-Taping Ruie
F|NRA Ruie 3170 (rep|acing NASD Ruie 3110(i) and 3010(b)(2). Consoiidated Supervision Ruies, Regu|atory

Notice 14-10 available at
http://www.finra.oro/web/cirouiss/industrv/@ip/@reci/@notice/documents/notices/p465940.pdf.

Co|lectiveiy, F|NRA Ruie 3010 and F|NRA Ruie 3170 states:

“A firm with at least five but fewer than ten registered persons, where 40% or more of its registered persons
have been employed by one or more Discip|ined Firrns within the last three years" and “A linn with at least ten
but fewer than twenty registered persons where four or more of its registered persons have been employed by
one or more Discip|ined Firms within the last three years” or

“A irm with at least twenty registered persons where 20% or more of its registered persons have been
employed by one or more Discip|ined Fin'ns within the last three years”.

Aipine will, within 30 days of receiving a notification from F|NRA, choose a hardware and software to adhere to
the rule and will follow the process outlined herein_

 

 

 

 

 

 

 

 

 

o President with respect to the OSJ Branch Manager
Responsibiiity o OSJ with respect to Registered Representatives
» Recorded phone conversations between registered representatives and
potentia|. current clients and/or any other business related telephone
Res°urces conversations
Frequency ¢ As required
President (as it pertains to the OSJ Branch Manager):
o Reviews business related telephone conversations of the OSJ Branch Manager
to ensure compliance with the securities laws and F|NRA rules
Act'°" OSJ Branch Manager, as it pertains to the finn‘s registered persons:
o Reviews business related telephone conversations of the registered
representatives to ensure compliance with the securities laws and F|NRA ruies.
Rec°rd o A minimum of 5% of random phone calls will be reviewed periodically through a
hardware/software method to be determined The reviewer will choose at least
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5% of the phone calls each day for each registered representative

o Each call reviewed will be documented on a supervisor call review sheet
indicating key information from the call (including registered representative
being reviewed, reviewer name, date and time of review, a summary of the
phone calil and a notation of any issues on the cail). Any issues will be
addressed by the registered representative’s supervisor. The supervisor call
sheet will be retained in the OSJ supervision files or similar liles.

~ Tape recordings and supervisor call review forms will be maintained for a
period of 3 years

 

 

 

 

||nsert Section Here|

3.15 Emergency Business Recovery Procedures

[FiNRA Ruie 4370]

Aipine has a Business Continuity Plan ("BCP") that assigns responsibilities and outlines procedures in the event
of a disaster, emergency or pandemic which impacts the ability of Aipine to continue conducting business (also
termed a "significant business disruption"). Exampies of a significant business disruption include a regional
power outage; disruption at another company that provides services critical to Aipine,' and destruction of an
ofnce or other facilities by natural causes or by other means The BCP designates employees who are
responsible for employee safety and protection of firm property, records, and customer assets

in the event of a disruption, employees will be given instructions by authorized personnel Depending on the
nature of the emergency. it may be necessary to use alternate communication systems; transfer personnel
and/or business activities to aitemate office space; or transfer Aipine's business to other brokerage finns or
financial institutions until normal operations can be resumed.

Aipine has established procedures for contacting employees in the event of an emergency. if Aipine conducts a
test of its emergency procedures, ali employees are required to participate as if the emergency were real. Past
emergencies affecting the securities industry have shown that preparedness and cooperation are key to
maximizing the safety of employees and minimizing business interruptions it is important for all employees to
follow instructions from senior management and other authorized key personnel during any drill or when an
emergency occurs.

Questions regarding Aipine's Business Continuity Plan may be referred to the Chief Operating Officer.

 

 

 

 

 

 

 

 

 

Responsibiiity ' 000
Res°urces - Business Continuity Records
Frequency o Annuain or as required
Administerthe Business Continuity Plan
Action ~ Perform annual tests for compliance with the policy
~ Copies of Aipine's business continuity plan
Record o Copies of dates in which the plan is tested
||nsert Section Herel
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9 ANTl-MONEY LAUNDER|NG (AML) PROGRAM

9.1 Firm Po|icy

Aipine revised this policy, which became effective on June 30th, 2014.

lt is the policy of Aipine Securities Corporation (Aipine) to prohibit and actively prevent money laundering and
any activities that facilitates money laundering or the funding of terrorist or criminal activities by complying with
ali applicable requirements underthe Bank Secrecy Act (BSA) and its implementing regulations

Money laundering is a serious crime potentially related to the funding of terrorist activities it is the subject of
extensive federal regulations that impose requirements on financial institutions such as broker-dealers and their
empioyees, to detect and prevent potential money laundering activities Taking actions to detect and prevent
money laundering is an obligation of each Aipine employee

Money laundering is generally defined as engaging in acts designed to conceal or disguise the true origins of
criminally derived proceeds so that the proceeds appear to have derived from legitimate origins or constitute
legitimate assets Generally, money laundering occurs in three stages Cash first enters the financial system at
the "piacement" stage, where the cash generated from criminal activity is converted into monetary instruments,
such as money orders or travelers checks, or deposited into accounts at financial institutions At the "iayering"
stage, the funds are transferred or moved into other accounts or other financial institutions to further separate
the money from its criminal origln. At the "integration“ stage, the funds are reintroduced into the economy and
used to purchase legitimate assets or to fund other criminal or legitimate business activities

Terrorist financing may not involve the proceeds of criminal conduct, but rather may be ari attempt to conceal
either the origin of the funds or their intended use, which could be for criminal purposes Legitimate sources of
funds are a key difference between terrorist financiers and traditional criminal organizations in addition to
charitable donations legitimate sources include foreign government sponsors, business ownership and personal
employment Aithough the motivation differs between traditional money launderers and terrorist financiers. the
actual methods used to fund terrorist operations can be the same as or similar to methods used by other
criminals to launder funds Funding for terrorist attacks does not always require large sums of money and the
associated transactions may not be complex

Engaging in money laundering and terrorist financing is a federal crime with severe penalties forthose engaged
in the associated criminal activities and those who facilitate, intentionally or inadvertently, money laundering lt is
important that Aipine and ali employees remain diligent and active participants in Aipine's Anti-Money
Laundering (AML) Program.

This chapter explains Aipine's Anti-Money Laundering (AML) Program. An explanation of money laundering and
guidance for all employees to detect money laundering is included in this chapter. These policies will be updated
and appropriate procedures and action effected when new rules are adopted.

9.1.1 Background

The Currency and Foreign Transactions Reporting Act, also known as the Bank Secrecy Act (BSA), and its
accompanying regulation, is a tool the U.S. government uses to fight drug trafficking money laundering and
other crimes Congress enacted the BSA to prevent financial service providers (such as banks and broker-
dealers) from being used as intermediaries for, or to hide the transfer or deposit of, money derived from criminal
activity. Money laundering schemes may include the use of wire transfers, cash, bearer instruments travelers'
checks money orders, cashiers' checks and other negotiable instruments

Aipine is required to comply with the reporting recordkeeping and record retention requirements of the BSA.
The requirements govern the payment, receiptl or transfer of currency within, into and out of the U.S. and
foreign financial transactions and accounts

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9.2 AML Ofticer Designation and Duties

[F|NRA Ruie 3310(d) and 3310.02]

Ruies/Resources: F|NRA Ruie 4517 (ika NASD Ruie 1160); F|NRA Ruie 3310; Bank Secrecy Actl 31 C.F.R.
103.120(c)

Aipine has designated an AML Ofticer who is responsible for overseeing Aipine's anti-money laundering
program, developing policies procedures and internal controls reasonably designed to achieve compliance with
AML rules and regulations Please refer to Aipine’s Form BD for the contact name of the AlV|L Ofticer. The AML
Officer has a working knowledge of the BSA and its implementing regulations and is qualified by experience
knowledge and training The duties of the AML Ofticer or designee will also include monitoring the Hrm’s
compliance with AML obligations and overseeing communication and training for employees The AML Ofticer
or designee will also ensure that suspicious activity reports (SAR-SFs) are fled with the Financiai Crimes
Enforcement Network (FinCEN) when appropriate

Contact the AML Officer or designee whenever you have questions about Aipine's programl a current or
prospective accountl or activities or transactions that raise questions about potential money laundering or other
illicit activities You may also provide information anonymously to the AML Ofticer or designee The AML Ofticer
or designee is responsible for investigating suspected money laundering activities and taking corrective action
when necessary

9.3 Updates to the F|NRA Contact System
Ruies/Resources; 31 c.F.R. § 103.120; i=iNRA Ruie 3310, i=iNRA Ruie 4517.

 

o CCO or designee

 

 

Responsibiiity
Res°urces o F|NRA Contact System
As required as material information becomes inaccurate; and
Frequency Annual coniim'iations within 17 business days following the end of the calendar

year

 

o Provide AML Ofticer name and contact information to F|NRA via the F|NRA
Contact System (FCS), initially

o Notify F|NRA promptly of any material changes in the AML Officers contact

Action information for the AML Officer within 30 days following the change

~ Confin'n information via F|NRA Contact System (FCS) annually within 17 business
days following the end of the calendar year

 

Rec°rd o Updates via F|NRA Contacts System (through F|NRA Gateway)

 

 

 

 

Aipine will provide F|NRA with contact information for the AML Ofticer, including: (1) name; (2) titie; (3) mailing
address; (4) emai| address; (5) telephone number; and (6) facsimile number through the F|NRA Contact System
(FCS) within 30 days following the material change The CCO or designee will promptly notify F|NRA of any
material change in this information through FCS and will review, on an annual basis and if necessary update.
this information within 17 business days after the end of each calendar year.

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9.4 Generai Summary of AML Ofticer Duties
Ruies/Resources: F|NRA Ruie 4517; F|NRA Ruie 3310(d) and 3310.02

 

Responsibi|ity o AML Ofticer or designee

 

Computer reports and other programs developed for the Program
lntemal audits or outside audits of the Program

Regu|ations and rules for broker-dealer anti-money laundering programs
OFAC web site

Other sites and resources available

Resources

 

Annual - review policies and procedures

o Annual and more frequently. as needed - develop and schedule AML education
for employees

o As needed ~ update program and provide revisions to senior management for
review and approval of material changes Non-material changes to the AML Poiicy

Frequency will not require senior management approval

~ Annualiy - review AML contact information on file through the F|NRA Contact
System (FCS)

~ Ongoing - review new regulations

~ Ongoing - monitor activity

 

Deve|op and update Aipine's anti-money laundering program
Obtain senior management approval for any material changes to the program or
policy
o Monitor (or designate monitoring) the activity of Alpine, its associated persons
and customers to reasonably detect and prevent money laundering activities
Develop AML education program for employees and schedule training
File required reports
Retain required records
Provide contact information via the F|NRA Contact System (FCS) and update
contact information if necessary

Action

 

Designation of AML Ofticer

Retain current and past copies of anti-money laundering program with senior

management approva|, when and where senior management approval is required
~ Retain records of AML education including who attended, date of training, and

material covered

Reports filed along with supporting documentationl where applicable

Retain other records as listed in the Program

Record

 

 

 

 

9.5 Giving AML information to Federal Law Enforcement Agencies and
Other Financiai institutions

9.5.1 Requests and Written Notices From Enforcement Agencies

Under the Bank Secrecy Act, financial institutions are required to respond to federal banking agency requests
for information relating to anti-money laundering compliance The Ruie requires provision of information and
account documentation for any account opened, maintained, administered or managed in the U.S. The AML

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Ofticer or designee maintains records of information provided in response to regulators' requests including the
request, date of response and information provided.

9.5.2 Federal Banking Agency Requests - 120 Hour Ruie
Ruies/Resources: USA PATR|OT Act Section 319(b)

Upon receiving a request from a Federal banking agency, the AML Ofticer or designee will provide the
requested information within 5 days (120 hours) of receiving the request or will make available the information
for inspection by the banking agency.

9.5.3 FinCEN Requests Under USA PATR|OT Act Section 314(a)

Ru|es/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart E; USA PATR|OT Act Section 314;

FinCEN 314(a) Fact Sheet: httg://www.fincen.govlstatutes regs/patriot/gdf/314afactsheet.gdf, 31 C.F.R.
103.100.

Resources:Fi‘nCEN press release (2/6/03):Fin CEN press release (2/12/03);NASD Member Alert
(2/14/03).‘F/`nCEN's 314(a) Fact Sheet (11/18/08). Frequentiy Asked Questions (FAQs)

 

~ AML Oflicer or designee

 

 

Responsibiiity
o Deposit records purchase/sale records account records other records as
Resources required
Frequency » Upon request

 

o Conduct a search of the required records

o if a match is foundl submit the Subject information Form to FinCEN using the
Action Secure information Sharing System

o Retain copy of 314(a) list received

 

Retain copies of the request
Notate date of review and initial or sign the 314(a) list received
information submitted (if a match is found) are retained in a FinCEN information
request file
~ Sign or initial 314(a) Search Seif-Veiitication Page and retain

Record

 

 

 

 

The Financiai Crimes Enforcement Network (FinCEN) sends law enforcement requests to financial institutions
under Section 314(a) of the USA PATR|OT Act, on typicallyl a bi-weekly basis

Aipine will respond to a Financiai Crimes Enforcement Network (FinCEN) 314(a) Request concerning accounts
and transactions by immediately searching our records to determine whether we maintain or have maintained
any account for, or have engaged in any transaction with, each individua|, entity or organization named in the
314(a) Request as outlined in the Frequentiy Asked Questlons (FAQ) located on FinCEN’s secure Web site
Aipine understands that we have 14 days (uniess otherwise specified by FinCEN) from the transmission date of
the request to respond to a 314(a) Request. lfthe search parameters differ from those mentioned above (for
example if FinCEN limits the search to a geographic location), the AML Ofncer or designee will structure the
search accordingly. Unless otherwise stated in the 314(a) Request or specified by FinCEN, Aipine is required to
search those documents outlined in FinCEN’s FAQ . if Aipine finds a match, the AML Ofticer or designee will
report it to FinCEN using FinCEN’s Secure information Sharing System. if we find a match with a named

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subject, the AML Ofticer or designee can stop its search on that subject; as we are not required to search our
records further for other matches with that specific subject unless and until we have been contacted by the
requesting federal law enforcement agency for additional information. if the 314(a) Request contains multiple
subjects the AML Ofticer or designee will continue to search our records for an account or transaction matching
any of the other named subjects The AML Oflicer or designee will ensure that all searches have been
completed prior to reporting any matches, as we will not be able to submit the response more than once for any
review period. The AML Ofticer or designee should not send any record of an account or a transaction (other
than a report, as described above notifying FinCEN of a match) when responding to a 314(a) Request

if the AML Officer or designee searches Aipine's records and does not find a matching account or transaction,
then the AiVlL Ofticer or designee will not reply to the 314(a) Request, A|pine will maintain documentation that
we have performed the required search by following the processes outlined above

A|pine will not disclose the fact that FinCEN has requested or obtained information from us, except to the extent
necessary to comply with the information request The AML Ofticer or designee will review, maintain and
implement procedures to protect the security and confidentiality of requests from FinCEN similar to those
procedures established to satisfy the requirements of Section 501 of the Gramm-Leach-B|iley Act with regard to
the protection of customers‘ nonpublic infomiation.

Unless otherwise stated in the 314(a) Request, Aipine will not be required to treat the information request as
continuing in nature, and Aipine will not be required to treat the periodic 314(a) Requests as a government
provided list of suspected terrorists for purposes of the customer identification and verification requirements

9.5.4 National Security Letters

Ruies/Resources: FinCEN SAR Activitv Review, Trendsl Tlps 8 issues issue 8 (Nationa| Securitv Letters and
Suspicious Activity Reportino) (4/2005).

National Security Letters (NSLs) are written investigative demands that may be issued by the local Federal
Bureau of investigation and other federal government authorities conducting counterintel|igence and
counterterrorism investigations to obtain, among other things nnancial records of broker-dealers NSLs are
highly confidential No broker-dealer, officer, employee or agent of the broker-dealer can disclose to any person
that a government authority or the FB| has sought or obtained access to records Aipine has policies in place to
process and maintain the coniidentiality of NSLs. if we file a Suspicious Activity Report (SAR-SF) after receiving
a NSL, the SAR-SF should not contain any reference to the receipt or existence of the NSL.

9.5.5 Grand Jury Subpoenas

Resources: FinCEN SAR Activity Review, Trends. Tips & issues issue 10 (Grand Jurv Subpoenas and
Suspicious Activity ReportinCl) (5/2006).

Aipine understands that the receipt of a grand jury subpoena concerning a customer does not in itself require
that we file a Suspicious Activity Report (SAR-SF). Aipine further understand that none of our officers
employees or agents may directly or indirectly disclose to the person who is the subject of the subpoena its
existence its contents or the information we used to respond to it. To maintain the confidentiality of any grand
jury subpoena we receive A|pine will process and maintain the subpoena in accordance with our departmental
policies and procedures if Aipine files a SAR-SF after receiving a grand jury subpoena, the SAR-SF will not
contain any reference to the receipt or existence of the subpoena The SAR-SF will only contain detailed
information about the facts and circumstances of the detected suspicious activity.

9.5.6 Voluntary information Sharing with Other Financiai institutions Under USA
PATRIOT Act Section 314(b)

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9.5.6.1 information Sharing Between Financiai institutions

Ru|es/Resources: USA PATR|OT Act Section 314(b); Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart
E; FinCEN certification; http://www.fincen.qovlfi infoappb.html, Ruie: 31 C.F.R. § 103.110., FinCEN Financiai
institution Notincation Fon'n: F|N-2009-G002: Guidance on the Scope of Permissible information Sharing
Covered bv Section 314(b) Safe Harbor of the USA PATR|OT Act (06/16/2009).

Aipine will share information with other financial institutions regarding individuals entities, organizations and
countries for purposes cf identifying andl where appropriate reporting activities that we suspect may involve
possible terrorist activity or money laundering The AML Ofticer or designee will ensure that the firm files with
FinCEN an initial notice before any sharing occurs and annual notices therealter. Aipine will use the notice form
found at FinCEN’s Web site Before Aipine shares information with another financial institution, A|pine will take
reasonable steps to verify that the other financial institution has submitted the requisite notice to FinCEN, either
by obtaining confirmation from the financial institution or by consulting a list of such financial institutions that
FinCEN will make available Aipine understands that this requirement applies even to Hnancial institutions with
which we are affiliated and that Aipine will obtain the requisite notices from affiliates and follow ali required
procedures

Aipine will employ strict procedures both to ensure that only relevant information is shared and to protect the
security and conhdentiality of this information, for example by segregating it from the fin'n’s other books and
records

Aipine also will employ procedures to ensure that any information received from another financial institution shall
not be used for any purpose other than:

~ identifying and, where appropriate reporting on money laundering or terrorist activities;
~ Detemiining whether to establish or maintain an account, or to engage in a transaction; or
o Assisting the financial institution in complying with performing such activities

9.5.6.2 Joint Fi|ing of SARS by Broker-Dealers and Other Financiai institutions
Ruies/Resources: 31 C.F.R. §103.19; 31 C.F.R. § 103.38; 31 C.F.R. § 103.110.

A|pine may tile joint SARs in certain circumstances Aipine may share information about a particular suspicious
transaction with any broker-dealer, as appropriate involved in that particular transaction for purposes of
determining whether we will file jointly a SAR-SF.

if Aipine determines it is appropriate to jointly file a SAR-SF, Aipine understands that we cannot disclose that we
have filed a SAR-SF to any financial institution except the financial institution that is filing jointly. if Aipine
determine it is not appropriate to file jointly (e.g., because the SAR-SF concerns the other broker-dealer or one
of its employees), Aipine understands that we cannot disclose that we have filed a SAR-SF to any other
financial institution.

9.5.6.3 Sharing SAR-SFs with Parent Companies

Ruies/Resources: FinCEN Guidance on Sharinci of Suspicious Activitv Reports bv Securities Broker-Deaiers.
Futures Commission Merchants and introducing Brokers in Commodities (1/20/06).

 

Because Aipine is a subsidiary, Aipine may share SAR-SFs with its parent company, if the hnancial institution
has fled a current 314(b) information sharing form with FinCEN. Before Aipine shares SAR-SFs with our parent
company, Aipine will have in place written conndentia|ity agreements or written arrangements that Aipine's
parent company protects the confidentiality of the SAR~SFs through appropriate internal controls

9.6 Checking the Office of Foreign Assets Controi (OFAC) Listings

Ruies/Resources: Dept. of Treasuryl various statutes; OFAC web site
(http://www.treas.govlofnoeslenforcement/ofac/); Foreign Assets Contrci Regu|ations For The Securities

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industry (http://www.treas.gov/oftices/enforcement/ofac/reguiations/t11facsc.pdf),SEC AML Source Too| item
Q; OFAC Lists Web page (including links to the SDN List and lists of sanctioned countries); FiNRA's OFAC
Search Tooi. You can also subscribe to receive updates on the OFAC Subscription Web page See also the
following OFAC fon'ns: Biocked Properties Reporting Form; Volunta_iy Form for Reporting Biocked Transactions;
Voiunta[y Form for Reporting Reiected Transactions; OFAC Guidance Regarding Foreiqn Assets Control
Regu|ations forthe Securities lndu_s£y.

 

 

RR for a new account
o OSJ Branch Manager and/or President ortheir designees (“Designated
Responsibiiity Supervisor(s)")
o AML Ofticer or designee where designated

 

Name l Entity search based on above referenced OFAC web site

Comparison search program provided by CSS Hosted Solutions. LLC, (hereafter
Resources referred to as the OFAC screening report)

~ Other sites identitied below (such as www.treas.oov/ofac or www.fincen.aov

 

At the time that a new account is opened
Daily for the OFAC screening report

o Weekly for the following reports

Frequency
Account Activity in Non-Cooperative and Biocked Countries Report

- Account iri Non-Cooperative Countries Report

- Foreign Account Activity Report

 

~ RR shall perform an OFAC search for each new customer and attach results to
the new account card

~ Designated Supervisor(s) approving the new account shall only approve an
account if an OFAC search is attached to the new account card. if a positive
identification is made the AML Comp|iance Ofticer or designee shall be notified
immediately

AML Ofticer or designee: if a positive identification is foundl

Biock accounts subject to sanctions

Cancei open orders for blocked accounts

Notify the OSJ Branch Manager and the account's RR, when an account or
security is blocked

Notify OFAC by FAX within 10 days of blocking an account

Notify Dreyfus Service Corporation with respect to funds in a blocked account
having been swept into the Dreyfus Money Market account

.°’.N.'"

Action

.‘-"P

AN|L Ofticer or designee:

Review, initial (or sign)l date and retain the OFAC screening report
Maintain log of blocked accounts

 

» Record of each new account accompanied by the OFAC search results

o OFAC screening report results subsequent OFAC searches undertaken, if any,
Record and any actions taken

o Notitications to OFAC

 

 

 

 

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The U.S. Treasury Department's Office of Foreign Assets Control (OFAC) is responsible for publishing sanctions
against persons corporations and other entities including foreign governments that have been identified by the
U.S. Government as engaging in criminal activities including drug trafficking and terrorist activities OFAC
requirements apply to all persons and entities under U.S. jurisdiction, including foreign branches of U.S.
institutions This also includes foreign institutions that operate in the U.S. Aipine is obligated to check its
accounts against the lists of blockings to ensure it does not engage in prohibited transactions which include
securities transactions and transfer of assets cut of a blocked account or to a blocked person or entity. Aipine
has procedures to monitor the OFAC lists and comply with requirements to block property and notify OFAC
when required. Questlons regarding Aipine's program should be referred to the AML Officer or designee More
information is also available at the OFAC web site at www.treas.gov/ofac.

Before opening an account, and on an ongoing basis the parties enumerated above will check to ensure that a
customer does not appear on the SDN list or is not engaging in transactions that are prohibited by the economic
sanctions and embargoes administered and enforced by OFAC prior to approving or opening an account,

Because the SDN list and listings of economic sanctions and embargoes are updated frequently. Aipine will
consult them on a regular basis and subscribe to receive any available updates when they occur. V\lith respect
to the SDN iist, Aipine may also access that list through various software programs to ensure speed and
accuracy. See alsoFlNRA’s OFAC Search Tool that screens names against the SDN iist.

if Aipine determines that a customer is on the SDN list or is engaging in transactions that are prohibited by the
economic sanctions and embargoes administered and enforced by OFAC, we will reject the transaction and/or
block the customers assets and file a blocked assets and/or rejected transaction form with OFAC within 10
days Aipine will also call the OFAC Hot|ine at (800) 540-6322 immediately

The property of sanctioned persons or entities will be blocked and transfer of assets prevented for persons or
entities included on the OFAC list of blocked persons or entities in addition, Aipine will block securities issued
by sanctioned countries and other sanctioned issuers information about sanctions is divided into several
categories including:

~ Persons and entities subject to sanctions Special/y Designated Nationals and B/ocked Persons (SDN
list)
Persons and entities engaged in drug trafficking Special/y Designated Narcofics Traffickers (SDNTKs)
Terrorists and terrorist organizations Specially Designated Terrorists (SDTs)
Countries, govemments, and other entities subject to sanctions

The term "OFAC list" in this section includes all sanctions published by OFAC even though the information may
appear in multiple lists

9.6.1 Prohibited Transactions

Aipine is prohibited from conducting transactions in any account on behalf of a sanctioned party or in certain
blocked securities Securities and funds may not be released and securities transactions may not be executed.
Securities and funds may be deposited to a blocked account, but no securities or funds will be released until the
account is no longer subject to sanctions Funds or securities may not be transferred to sanctioned parties

Because transactions are prohibited, ali open orders for a blocked account will be cancelled.

9.6.2 B|ocking Requirements
B|ocking requirements are generally triggered under the following circumstances

~ An account is opened for someone included on an OFAC list.

o The owner of an existing account is added to an OFAC list.

~ A security is identified iri a customer account where the issuer is the subject of sanctions

¢ A request is made by a customer to pay or transfer funds or securities to a blocked person or entity.
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While title to blocked property remains with the blocked person or entityl transactions affecting the property
(including transfer of the assets) cannot be made without authorization from OFAC. Debits to blocked accounts
are prohibited but credits may be accepted Cash balances in blocked accounts must earn interest at
commercially reasonable rates Biocked securities may not be paid. withdrawn, transferred (even in book
transfer), endorsed, guaranteed or otherwise dealt in.

lt is not a violation to open an account for a blocked person. The violation occurs when the account is not frozen
and assets are allowed to transfer out of the account. in addition, OFAC restrictions may vary depending on the
blocked person or entity; details of blocking requirements are explained on the OFAC web site

9.6.3 Monitoring Procedures
Monitoring is to be conducted as follows:

o Operations personnel and Supervisors approving new accounts are provided with a list of the countries
included on the OFAC countries list. to watch for new accounts to be opened for or requests to transfer
funds or securities to residents of those countries The AML thcer or designee shall provide an
updated list each month by email to ali operations personnel and supervisors

o Aipine's retail sales staff undertakes an OFAC search utilizing the www.treasgov/ofac web site for each
new account and attaches the OFAC search results to the new account fonn.

o Aipine's AML Ofticer or designee performs a daily review of the OFAC screenings report provided by
CSS Hosted So|utions, LLC. The OFAC screening report identifies potential matches to the OFAC SDN
List or Special|y Designated Nationais Aiias List for new or changed accounts in addition, the AML
Ofticer or designee performs a bi-weekly review of the following reports for trade and/or transmittal
activities involving accounts that reside in a non-cooperative countries and/or blocked countries

o Account Activity in Non-Cooperative and Biocked Countries Report
o Account in Non-Cooperative Countries Report
o Foreign Account Activity Report:

To evidence review, a report is produced that is reviewed. initialed (or signed) and retained by the AML Ofticer
or designee

9.6.3.1 Other Requests To Monitor Accounts

Regu|ators or law enforcement agencies may ask the industry's cooperation in identifying accounts for
individuals or entities under investigation or suspected of criminal activities

The AML Ofticer or designee is responsible for responding to such requests; providing the necessary
information; and retaining records of requests reviews conducted pursuant to requests and information
provided to authorities

9.6.4 B|ocking Property And Disbursements

Any blocked account will not be permitted to engage in transactions other than the acceptance of deposits of
funds or securities Open orders of blocked accounts will be cancelled

Disbursements of funds or securities may not be made to sanctioned parties The AML Ofticer or designee will
instruct Aipine's Operations Department to withhold requests for disbursements from blocked accounts and will
maintain a log of ali accounts that have been blocked.

9.6.4.1 Reporting Biocked Property And Legal Actions

When an accounth disbursement is blocked or a blocked security is identified, OFAC will be notified within 10
days of blocking if A|pine blocks an account or security, the AML Ofticer or designee will file the necessary
report with OFAC. The AML Ofticer or designee will be responsible to retain copies of reports filed by Aipine in a
file of blocked accounts or securities lnfonnation to be reported includes:

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Owner or account party

Property and property location

Account number

Actual or estimated value

Date property was blocked

Copy of the payment or transfer instructions

Contirmation that funds have been deposited in a blocked account that is identihed as blocked
Name and phone number of Aipine's AML Ofticer

For rejected disbursements the following information is to be h|ed:

Name and address of the transferee financial institution
Date and amount of the transfer

Copy of the payment or transfer instructions

Basis for rejection

Name and phone number of Aipine's AML Ofticer

U.S. persons involved in litigation, arbitration, or other binding alternative dispute resolution proceedings
regarding blocked property must provide notice to OFAC. Copies of all documents associated with the
proceedings will be submitted by the AML Ofticer or designee to the OFAC Chief Counse| at the U.S. Treasury
Department within 10 days of their filing. ln addition, information about the scheduling of any hearing or status
conference will be faxed to OFAC’s Chief Counsel.

9.6.4.2 Annual Report Of B|ocked Property

On an annual basis by September 30th, the AML Ofticer or designee shall file Form TDF 90-22.50 with OFAC
for any blocked property held as of June 30.

9.6.5 Penaities for Non-Compliance with OFAC Ru|es and Regu|ations

Depending on the program, criminal penalties for willful violations can include fines ranging up to $20 million and
imprisonment of up to 30 years, and up to $1,075,000 in civil penalties for each violation.

9.7 Customer identification Program (C|P)

Ru|es/Resouroes:USA PATR|OT Act Section 326; Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart B;
F|NRA Notice to Members 03-34; FinCEN Frequentiy Asked Questions: http://www.fincen.gov/cip_faq.html;

FinCEN No-Action position on ClP requirements under clearing arrangements FlN-2008-GOOZ; Guidance on
Obtaining and Retaining Beneiicial Ownership lnforrnation. FinCEN Guidance, FlN-2010-GOO1 March 5, 2010

ln addition to the information Aipine must collect under F|NRA Rule 2010 (Standards cf Commercial Honor and
Principles of Trade), F|NRA Ruie 2111 (Recommendations to Customers - Suitabiiity), NASD 3110 (Bocks and
Records) and Securities Exchange Act of 1934 (Exchange Act) Ru|es 17a-3(a)(9) (Beneficia| Ownership
regarding Cash and Margin Accounts) and 17a-3(a)(17) (Customer Accounts), Aipine has established,
documented and maintained a written Customer ldentification Program (ClP). A|pine will collect certain minimum
customer identification information from each customer who opens an account; utilize risk-based measures to
verify the identity of each customer who opens an account; record customer identification information and the
verihcation methods and results; provide the required adequate ClP notice to customers that A|pine will seek
identification information to verify their identities; and compare customer identification information with
govemment-prcvided lists of suspected terrorists, once such lists have been issued by the govemment.

Requirements for employees opening accounts as explained in the chapter ACCOUNTS are duplicated in this
section to consolidate all AML requirements within this chapter.

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9.7.1 Required Customer information

Prior to opening an account, A|pine will collect the following information for all accounts if applicab|e, for any
person. entity or organization that is opening a new account and whose name is on the account, absent some
exceptions

¢ Name
~ Date of birth, for an individual
. Address:

o for an individual, residential or business street address if no street address exists or is
available, an APO or FPO box number or the residential or business street address of a next of
kin cr another contact individual

o for a non-individual (corporation, trust, etc.) a principal place of business local office, or other
physical |ocation.

o Taxpayer identification number for a U.S. person (U.S. citizen or non-individual established or
organized under U.S. or state |aws).

¢ identification number for non-U.S. person which may include a taxpayer lD number; passport
number and country of issuance; alien identihcation card number, or the number and country of
issuance of any other govemment-issued document evidencing nationality or residence and bearing a
photo or similar safeguard

|n the case of a customer who has applied for a taxpayer identification number but has not yet received
it, notation must be made on the new account application that the taxpayer |D has been applied for. The
account will be restricted to liquidating transactions if the taxpayer lD number is not received within 30 days of
opening the accountl

Aipine may rely on another financial institutional to obtain this inforrnation, prior to opening an account Please
refer to the section titled “Reiiance on Another Financiai institution for identity Verification”. The use of the term
"customer" in this section is also intended to include prospective customers

9.7.1.1 Customer identity Verification
This section is duplicated from Chapter 11.

 

o OSJ Branch Manager, President cr their designees (“Designated Supervisor(s)")

 

 

Responsibiiity
Resoumes ~ New account application and other customer |D information
Frequency ¢ When accounts are opened

 

o Before the Designated Supervisor approves an account, determine that customer
identification (|D) verification information is included with the new account
application and that it meets Aipine's requirements

¢ For non-documentary verification, check the information included with the new

Action account application for completeness and consistency with other customer-
provided information (namel address, phone number, taxpayer lD number, etc.)

o For unacceptable verification information (incompiete, inconsistent)l return the
application to the RR for further information or disapprove the account

 

o Each Customer file shall contain the New Account App|ication and records that
include customer lD verification as well as the Designated Supervisor's signature

Record signifying approval

 

 

 

 

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When opening new accounts the customers identity must be verihed, as required by federal iaw. Customer
identihcation (|D) information must be completed on the new account application

9.7.1.2 Exclusions from the ClP Ruie
Customer lD verihcation does NOT apply to accounts for:

~ persons with an existing account at A|pine (uniess the account requires approval by the AML Ofticer or

designee)

- banks

¢ governmental entities

~ issuers of listed equity securities

o other financial institutions subject to regulation by the SEC. CFTC, Federal Reserve Board, OCC. FD|C.
Oftice of Thrift Supervision, or the National Credit Union Administration

~ persons opening accounts to participate in an ERlSA plan

~ intermediaries not identified as the accountholder (such as underlying benehcia| owners or sub-account

holders See the section titled l‘Omnibus and Sub-Accounts" for more information

9.7.1.3 Customers Who Refuse to Provide information

lf a potential or existing customer either refuses to provide the information described above when requested or
appears to have intentionally provided misleading information, A|pine will not open a new account and, after
considering the risks involved, may consider closing any existing account. |n either dese. our AML thcer or
designee should be notihed so that we can determine whether we should report the situation to FinCEN on a
SAR-SF.

9.7.1.4 Accounts Requiring Approval By The AML Ofticer or Designee

The following accounts require review and approval by the AML Ocher or designee at the time of opening. The
AiVlL Ofticer or designee may require additional customer identihcation information for these accounts

~ Numbered accounts (accounts designating a number rather than a name as the account name).

- Any account requesting confidential handling of its name, mailing of confirmation and statements
eic.

- Accounts domiciled in high risk countries Accounts domiciled in countries identified by OFAC or the
Financiai Action Task Force on Money Laundering (FATF) as having inadequate anti-money laundering
standards or representing high risk for crime and corruption.

c Foreign public officials Includes individuals in high offices of foreign governments political party
ofhcials and their families and close associates (if known and/or readily identifiable).

o Correspondent and Private Banking accounts See the section Due Diligence For Correspondent
And Private Banking Accounts

lf the accounts noted above are introduced by a correspondent Gn'n, A|pine may rely on another financial
institution to perform the customer identification program requirements Please refer to the section titled
“Reliance on Another Financiai institution for identity Verification”.

9.7.1.5 Omnibus And Sub-Accounts

Ru|es/Resources: SEC Q and A Regarding the Broker-Dealer Customer identification Program Rule, October 1,
2003

Omnibus and sub-accounts are sometimes established by or on behalf of hnancia| intermediaries for the
purpose of executing transactions that will clear or settle at another Enancia| institution or for delivering assets to
the custody account of the beneficial owner at another financial institution. Limited information about the

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benehcial owner is used primarily to assist the financial intermediary with recordkeeping or to establish sub-
accounts to hold positions to be transferred to another financial institution. Transactions are initiated by the
financial intermediary and the beneficial owner has no direct control over the omnibus or sub-accounts

Under these circumstances Aipine is not required to look through the intermediary to the underlying beneficial
owners if the intermediary is identified as the accountholder. in the event the intermediary identified as the
account holder’s identity cannot be adequately verihed using documentary and non-documentary methods
identity information on the persons or entities controlling the account will be required.

9.7.1.6 Third Party Accounts

Please refer to Chapter 11 of Aipine's written supervisory procedures for information on the documentation
requirements for third party accounts in the section titled “Third Party Accounts".

9.7.1.7 Accounts For Non-individuals

Account documents usually obtained for non-individual accounts (trust instruments corporate authorization,
partnership agreements government-issued business licensel etc.) will usually satisfy customer |D
requirements in the case of corporations a corporate authorization is required These documents must be
obtained within 30 days of account opening to satisfy the requirement

9.7.2 Verifying information

Based on the risk, and to the extent reasonable and practicabie, A|pine will ensure that we have a reasonable
belief that we know the true identity of our customers by using risk-based procedures to verify and document the
accuracy of the information Aipine receives about our customers The OSJ Branch Manager or designee will
analyze the information we obtain to determine whether the information is sufficient to form a reasonable belief
that we know the true identity of the customer (e.g.. whether the information is logical cr contains
inconsistencies). V\hth respect to customers introduced by correspondent finn, Aipine will reasonably rely on the
performance of the financial institution with respect to customer verihcation. Please refer to the section titled
“Reliance on Another Financiai institution for identity Verification" for more information_

A|pine will verify customer identity through documentary means non-documentary means or both as
enumerated below. Aipine will use documents to verify customer identity when appropriate documents are
availabie. |n light of the increased instances of identity fraud, we will supplement the use of documentary
evidence by using the non-documentary means described below whenever necessary. A|pine may also use
non-documentary means if Aipine is still uncertain about whether we know the true identity of the customer. ln
verifying the information, A|pine will consider whether the identifying information that we receive, such as the
customer’s name, street address zip code, telephone number (if provided), date of birth and Social Security
number, allow ustc determine that we have a reasonable belief that we know the true identity of the customer
(e.g., whether the information is logical or contains inconsistencies).

Appropriate documents for verifying the identity of customers include the following:

¢ For an individual, an unexpired government-issued identification evidencing nationality or residence and
bearing a photograph or similar safeguard, such as a driver’s license or passport; and

- For a person other than an individual, documents showing the existence cf the entity. such as certified
articles of incorporation, a government-issued business |icense, a partnership agreementh a trust
instrument

A|pine understands that we are not required to take steps to determine whether the document that the customer
has provided to us for identity verification has been validly issued and that we may rely on a govemment~issued
identihcation as verification of a customer’s identity. lfl however, we note that the document shows some
obvious form of fraud. we must consider that factor in determining whether we can form a reasonable belief that
we know the customers true identity.

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Aipine will verify the information within a reasonable time before or after the account is opened Depending on
the nature of the account and requested transactions Aipine may refuse to complete a transaction before we
have verified the information, or in some instances when we need more time, Aipine may, pending verification,
restrict the types of transactions or dollar amount of transactions if Aipine find suspicious information that
indicates possible money laundering. terrorist Enancing activity, or other suspicious activity, A|pine wiil, after
internal consultation with the firm's AML Officer or designee, file a SAR~SF in accordance with applicable laws
and regulations

9.7.2.1 Non-Documentary Methods Of Verifying Customer identification
Aipine will use non-documentary methods of verification when:

~ (1) the customer is unable to present an unexpired government-issued identification document with a
photograph or other similar safeguard;
(2) the firm is unfamiliar with the documents the customer presents for identification verification;
(3) the customer and firm do not have face-to-faoe contact; and
(4) there are other circumstances that increase the risk that the firm will be unable to verify the true
identity of the customer through documentary means

~ (5) Other circumstances at the discretion of the RR's supervisor, New Accounts and/or the AML Ocher
or designee, where Aipine is unable to verify the customer’s identity.

ln these circumstances a non-documentary method must be indicated by the RR on the new account
application:

Direct customer contact information

information from a consumer reporting agency or other database
References from another financial institution

A financial statement from a bank

Copy of a utility bill

9.7.2.2 Additionai Verification For Certain Customers

A|pine recognizes that the risk that we may not know the customer’s true identity may be heightened for certain
types of accounts such as an account opened in the name of a corporation, partnership or trust that is created
or conducts substantial business in a jurisdiction that has been designated by the U.S. as a primary money
laundering jurisdictionl a terrorist ccncern, or has been designated as a high-risk or non-cooperative country or
territory. A|pine will identify customers that pose a heightened risk of not being properly identified A|pine will
also take the following additional measures that may be used to obtain information about the identity of the
individuals associated with the customer when standard documentary methods prove to be insufficient

For the following types of customers a minimum of TWO forms of customer lD are required in addition to review
and approval by the AiV|L Ofticer or designee prior to opening the account;

Numbered accounts

o Accounts domiciled in high-risk countries included on the Treasury Dept. OFAC list (check with
Operations personnel for a list of those countries or go to
http:/lwww.ustreas.gov/officesleotfchofac/sanctionsflndex.html)

~ Accounts for foreign public officials (individuals in high office in other countries their families and close
associates political party ochiais)

9.7.2.3 Lack Of Customer lD Verification
When Aipine cannot form a reasonable belief that we know the true identity of a customer, Aipine wil|:

1. not open an account;

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2. impose terms under which a customer may conduct transactions while we attempt to verify the
customer’s identity;

3. close an account after attempts to verify customers identity fail; and

4. determine whether it is necessary to file a SAR-SF in accordance with applicable laws and regulations

Questions regarding accounts that do not comply with requirements to verify customer lD should be referred to
the AML Ofticer or designee.

9.7.3 Recordkeeping

Aipine will document our verification, including ali identifying information provided by a customer, the methods
used and results of verification, and the resolution of any discrepancies identified in the verihcation process
Aipine will keep records containing a description of any document that we relied on to verify a customers
identity, noting the type of document any identification number contained in the document, the place of
issuance, and if any, the date of issuance and expiration date. With respect to non-documentary verification,
Aipine will retain documents that describe the methods and the results of any measures we took to verify the
identity of a customer. Aipine will also keep records containing a description of the resolution of each
substantive discrepancy discovered when verifying the identifying information obtained Aipine will retain records
of ali identification information for Hve years alter the account has been closed and will retain records made
about verification of the customers identity for hve years after the record is made.

9.7.4 Comparison with Government-Provided Lists of Terrorists

At such time as Aipine receives notice that a federal government agency has issued a list of known or
suspected terrorists and identified the list as a list for ClP purposes Aipine will, within a reasonable period of
time after an account is opened (or earlier, if required by another federal law or regulation or federal directive
issued in connection with an applicable list), determine whether a customer appears on any such list of known
or suspected terrorists or terrorist organizations issued by any federal government agency and designated as
such by Treasury in consultation with the federal functional regulators Aipine will follow all federal directives
issued in connection with such lists

Aipine will continue to comply separately with OFAC rules prohibiting transactions with certain foreign countries
or their nationals

9.7.5 Notice to Customers
Ruies/Resouroes: 31 C.F.R. E103.122(b)(5)

A|pine will provide notice to customers that Aipine is requesting information from them to verify their identities
as required by federal law. Customers are provided notice, prior to opening an account, that their identification
will be verified This notice may be on Aipine's web site, on new account applications or in other disclosures
provided at the time of account opening and may inciude. but not be limited to, the following:

important information about Procedures for Opening This Account

To help the government hght the funding of terrorism and money laundering activities federal law requires all
financial institutions to obtain, verify, and record information that identifies each person who opens an account
Client is required to provide the following information, among other items on new account forms; name,
address date of birth and other information that will allow Aipine to confirm Client’s identity. in addition, your
broker may ask to see a valid drivers license or other identifying documents

9.7.6 Re|iance on Another Financiai institution for identity Verification

Ruies/Resources: 31 C.F.R. § 103.122(b)(6), No-Action Letters to the Securities industry and Financiai Markets
Association (S|FlVlA) (formeriy known as the Securities industry Association (SiA)) (February 12 2004; February
10 2005; Ju|y 11, 2006; and JanuaLy 10, 2008). (The letters provide staff guidance regarding the extent to

 

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which a broker-dealer may rely on an investment adviser to conduct the required elements of the ClP rule, prior
to such adviser being subject to an AML rule.)

ln its clearing functions A|pine wii|, under the following circumstances rely on the performance by another
financial institution (including an affiliate) of some or all of the elements of our ClP with respect to any customer
that is opening an account cr has established an account or similar business relationship with the other hnancia|
institution to provide or engage in services dealings or other hnancial transactions

o when such reliance is reasonable under the circumstances

o when the other financial institution is subject to a rule implementing the anti-money laundering
compliance program requirements of 31 U.S.C. § 5318(h), and is regulated by a federal functional
regulator, M

o when Aipine has entered into a contract with the other financial institution to perform these functions
and requiring it to certify annually to us that it has implemented its anti-money laundering program and
that it will perform (or its agent will perfonn) specified requirements of the customer identification
program.

9.7.6.1 Re|iance on Registered investor Adviser Accounts

Ru|es/Resources:SEC Division cf Market Regulation No-Action Letter to SiFMA dated January 11, 2011:
http://www.sec.qov/divisions/marketreo/mr-noaction/2011/sifma01 1 1 1 1 .pdf

For accounts established by registered investment advisers Aipine may rely on the adviser to have obtained
information to comply with federal Customer identification Program (CiP) rules under the following
circumstances:

o it is reasonable to rely on the advisers assurances

o the adviser is federally regulated (state-only registered iAs do not qualify); and

o the adviser signs an agreement that lt will annually certify to A|pine that it has implemented an anti-
money laundering program and will perform (or its agents will perform) specified requirements of
Aipine's ClP.

9.8 Due Diligence For Correspondent And Private Banking Accounts

Ruies/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F; USA PATR|OT Act Section 312
and 313; FinCEN Fact Sheet (http:l/www.fincen.qov/312factsheet.pdf)

9.8.1 Definitions

Correspondent account; includes any account established for a foreign Hnancial institution to receive deposits
from, or to make payments or other disbursements on behalf of, the foreign institution, or to handle other
financial transactions related to such foreign hhancial institution, This type of account presumes a formal
relationship through which the financial institution provides regular services

For broker-dealers correspondent accounts established on behalf of foreign financial institutions include, but
are not limited to: (1) accounts to purchase. selll lendl or otherwise hold securities including securities
repurchase programs; (2) prime brokerage accounts that clear and settle securities transactions for clients; (3)
accounts for trading foreign currency; (4) custody accounts for holding securities or other assets in connection
with securities transactions as collatera|; and (5) over-the-counter derivative contracts

Account: Any formal relationship established with a broker or dealer in securities to provide regular services to
effect transactions in securities including but not limited to, the purchase or sale of securities and securities
loaned and borrowed activity, and to hold securities or other assets for safekeeping or as collateral

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Foreign bank: defined under the Bank Secrecy Act as a bank organized under foreign law. or an agency,
branch, or bank office located outside the United States The term does not include an agent, agency, branch or
office within the U.S. of a bank organized under foreign iaw.

Foreign financial institution: defined as:
(1) a foreign bank;

(2) any branch or office located outside the United States of a broker-dealer; futures commission merchant or
introducing broker; or open-end mutual fund company;

(3) any other person organized under foreign law (other than a branch or office of such person in the United
States) that, if it were located in the United States would be a broker-dealer; futures commission merchant or
introducing broker; or open-end mutual fund company; and

(4) any person organized under foreign law (other than a branch or office of such person in the United States)
that is engaged in the business of, and is readily identifiable as: (a) a currency dealer or exchanger; or (b) a
money transmitter

A person, however, is not “engaged in the business" of a currency dealer, a currency exchanger or a money
transmitter if such transactions are merely incidental to the person's business

Foreign shell bank: a foreign bank without a physical presence in any country.

Regu|ated affiliate: a foreign shell bank that (1) is an affiliate cfa depository institution, credit union, cr foreign
bank that maintains a physical presence in the United States or a foreign country, as applicable; and (2) is
subject to supervision by a banking authority in the foreign country regulating such affiliated depository
institution, credit union, or foreign bank,

 

Responsibimy o AML Ofticer or designee

 

v New account application

o Foreign bank certihcation

Resources o information about a foreign bank subsequent to opening that indicates it is a
foreign shell bank where an account may not be maintained

 

o As required when accounts are opened
Frequency ~ Monthly - review of accounts identified for due diligence reviews

 

Conduct due diligence for correspondent and private banking accounts
For foreign bank accounts
c Revlew certification to determine:
- All required information is included
- inconsistencies (i'.e., location cf the foreign bank's regulated
affiliate is consistent with the designated banking authority that
supervises the foreign bank and its regulated affiliate)

 

 

 

 

 

Act'°n o Ensure procedures are in place to restrict transactions in accounts that do
not provide certification within 30 days of opening the account
o Close existing prohibited accounts for foreign shell banks
o Review re-certifications
o Ensure procedures are in place to re-certify foreign banks within three
years of original certi&cation
Record o Record of the AML Officer's or designee's review is maintained in new account
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records on the applicable fom'i:
c New account application
0 Certification form
o Re-certification form

o Records of closing or restricting accounts are retained with new account records

 

 

 

 

9.8.2 Due Diligence and Enhanced Due Diligence Requirements For Correspondent
Accounts of Foreign Financiai institutions

Ruies/Resources: 31 C.F.R. §§ 103.175, 103.176, FiN-ZOOS-GOOQ Application cf the Reciulations Requiring
Sbeciai Due Mgence Programs for Certain Foreign Accounts to the Securities and Futures industries (May 10,

2006 l.

A|pine will conduct an inquiry to determine whether a foreign financial institution has a correspondent account
established, maintained administered or managed by the hrm.

if Aipine has correspondent accounts for foreign financial institutions Aipine will assess the money laundering
risk posed, based on a consideration of relevant risk factors Aipine can apply ali or a subset of these risk
factors depending on the nature of the foreign financial institutions and the relative money laundering risk posed
by such institutions

The U.S. Department of Treasury has established the following minimum due diligence requirements

~ determine whether the account is subject to enhanced due diligence
~ assess the money laundering risk posed, based on risk factors
~ apply risk-based policies procedures and controls to each account, including periodic review of activity

The relevant risk factors can inciude:

~ The nature of the foreign financial institution’s business and the markets it serves; the typel purpose and
anticipated activity of such correspondent account;

- the nature and duration of the finn’s relationship with the foreign Enancial institution and its afliiiates;

~ the anti-money laundering and supervisory regime of the jurisdiction that issued the foreign financial
institution’s charter or license and. to the extent reasonably available, the jurisdiction in which any
company that is an owner of the foreign financial institution is incorporated or chartered; and

~ any information known or reasonably available to the covered Hnancial institution about the foreign
financial institution's anti-money laundering record

Aipine will apply our risk-based due diligence procedures and controls to each financial foreign institution
correspondent account on an ongoing basis This includes periodically reviewing the activity of each foreign
financial institution correspondent sufficient to ensure whether the nature and volume of account activity is
generally consistent with the information regarding the purpose and expected account activity and to ensure that
the firm can adequately identify suspicious transactions Ordinarily, Aipine will not conduct this periodic review
by scrutinizing every transaction taking place within the account One procedure Aipine may use instead is to
use any account prohies for our correspondent accounts (if we maintain these) that we ordinarily use to
anticipate how the account might be used and the expected volume cf activity to help establish baselines for
detecting unusual activity.

Correspondent accounts for foreign financial institutions are forwarded to the AML OfEcer or designee, at the
time of opening, for review_

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» Review the account's home country vs_ OFAC lists of jurisdictions of money laundering concern and

blocked persons
o if identified on an OFAC list, report the account and close it.

~ Review new account information about the account including source of revenue and assets, whether the
person/entity has existing accounts with Alpine, length of time the RR has known the account, who
referred the accountl and other available information about account background and how the account
came to Alpine.

o if there is inadequate information or due diligence procedures cannot be performed, refuse to open the
account or close an existing account

o File a SARl if appropriate
o if the account is approved for opening, determine whether ongoing review is necessary.

o |f ongoing review is appropriatel establish duplicate statements or another method for review of
account activity by the ANlL Officer_

o Review will include identifying patterns of securities transactions and securities/money transfers
that may be indicative of money laundering activity, and report such activity if necessary and close
the account,

9.8.2.1 Correspondent Accounts introduced by a Correspondent Firm (or introducing Firm)

ln those cases where A|pine has a formal relationship with any final institution with which it has executed a
clearing or carrying agreement, A|pine understands its obligation to perform due diligence pursuant to the
correspondent rule with respect to its carrying agreement with a foreign financial institutionl However1 Aipine will
not have a formal relationship and thus will not have an account subject to the due diligence provisions of the
correspondent account rule, with a foreign financial institution introduced to us under a clearing agreement
unless Aipine engages in activities that obligate us to make a suitability determination with respect to securities
transactions conducted through the introduced foreign financial institution accounts

in these cases, A|pine will consider the money laundering risks posed by the introducing firm, including any
information Aipine acquires about the account base of the introducing firm's ordinary course of business and
through the application of the introducing firm's anti-money laundering policies, procedures and contrc|s.

9.8.2.2 Enhanced Due Diligence For Foreign Banks
Ruies/Resources: 31 C.F.R. §§ 103.175, 103.176.

Aipine will assess (and perform enhanced due diligence) any correspondent accounts for foreign financial
institutions to determine whether they are correspondent accounts that have been established, maintained,
administered or managed for any foreign bank that operates under:

(1) an offshore banking |icense;

(2) a banking license issued by a foreign country that has been designated as high-risk or non-cooperative with
international anti-money laundering principles or procedures by an intergovernmental group or organization of
which the United States is a member and with which designation the U.S. representative to the group or
organization concurs; or

(3) a banking license issued by a foreign country that has been designated by the Secretary of the Treasury as
warranting special measures due to money laundering concerns

if Aipine determines that it has any correspondent accounts for these specified foreign banks, A|pine will
perform enhanced due diligence on these correspondent accounts The enhanced due diligence that we will
perform for each correspondent account will include, at a minimuml procedures to take reasonable steps to:

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(1) conduct enhanced scrutiny of the correspondent account to guard against money laundering and to identify
and report any suspicious transactions Such scrutiny will not only reflect the risk assessment that is described
in Section 8.a. above. but will also include procedures to, as appropriate:

(i) obtain (e.g., using a questionnaire) and consider information related to the foreign bank's AML program to
assess the extent to which the foreign bank's correspondent account may expose us to any risk of money
laundering;

(ii) monitor transactions to, from or through the correspondent account in a manner reasonably designed to
detect money laundering and suspicious activity (this monitoring may be conducted manually or electronically
and may be done on an individual account basis or by product aotivity); and

(iii) obtain information from the foreign bank about the identity of any person with authority to direct transactions
through any correspondent account that is a payable-through account (a correspondent account maintained for
a foreign bank through which the foreign bank permits its customer to engage. either directly or through a
subaccount, in banking activities) and the sources and beneficial owners of funds or other assets in the payable-
through account,

(2) determine whether the foreign bank maintains correspondent accounts for other foreign banks that enable
those other foreign banks to gain access to the correspondent account under review and, if so, to take
reasonable steps to obtain information to assess and mitigate the money laundering risks associated with such
accounts, including, as appropriate, the identity of those other foreign banks; and

(3) if the foreign bank’s shares are not publicly traded, determine the identity of each owner and the nature and
extent of each owners ownership interest We understand that for purposes of determining a private foreign
bank's ownership, an “owner” is any person who directly or indirectly ownsl controls or has the power to vote 10
percent or more of any class of securities of a foreign bank. Aipine also understands that members of the same
family shall be considered to be one person.

Refer the account to the AML Ofnoer or designee to:

v conduct appropriate enhanced scrutiny;
~ determine whether the foreign bank itself offers correspondent accounts to other foreign banks (i.e.,
nested accounts) and, as appropriate, identify such foreign bank customers and conduct additional due
diligence on them; and
identify the owners of such foreign bank, if its shares are not publicly traded_
determine whether the account appears on any OFAC list;
approve or reject the account
determine whether ongoing review is necessary.
o if yesl establish duplicate statements or other method for ongoing review.

report the account, if appropriate

9.8.2.3 Special Procedures When Due Diligence or Enhanced Due Diligence Cannot Be
Performed

Ruies/Resouroes: 31 C.F.R. §§ 103.175l 103.176.
ln the event there are circumstances in which A|pine cannot perform appropriate due diligence with respect to a
correspondent account, the AML Officer or designee will determine, at a minimum, whether to refuse to open

the account, suspend transaction activity, file a SAR-SF, close the correspondent account and/or take other
appropriate action.

9.8.2.4 Prohibition Against Correspondent Accounts For Foreign Shell Banks
Ruies/Resources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F; USA PATR|OT Act Section 313

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Aipine is prohibited from establishing, maintaining, administering, or managing a correspondent account in the
United States for an unregulated foreign shell bank. The prohibition does not apply to a foreign shell bank that is
a regulated affiliate. lf an account is inadvertently opened for an unregulated foreign shell bank, the AML Ofticer
or designee must be notified and the account will be immediately closed.

9.8.3 Foreign Bank Certification

Ru|es/Resources: FinCEN Frequentiy Asked Questions re Certification: http://www.fincen.gov/fagsguidance.pdf,
Rules: 31 C.F.R. §§ 103.175, 103.177, 31 C_F.R,, Pt. 103. Subpt. ll App. A (Certincation Regarding
Correspondent Accounts for Foreiqn Banksl; FlN-2006-GOOS: Frequentiy Asked Questions: Foreiqn Bank
Recertitications under 31 C.F.R. 6 103.77 (Februarv 3. 2006).

When opening an account for a foreign bank, Aipine is obligated to ensure the bank is not an unregulated
foreign shell bank and must obtain information about the foreign bank's owners and an agent for service of
process A|pine will require our foreign bank account holders to identify the owners of the foreign bank if it is not
publicly traded. the name and street address of a person who resides in the United States and is authorized and
has agreed to act as agent for acceptance of legal process and an assurance that the foreign bank is not a
shell bank nor is it facilitating activity of a shell bank. ln lieu of this information the foreign bank may submit the
Certification Regarding Correspondent Accounts For Foreign Banks provided in the BSA regulations to the AML
Officer or designee, Aipine will re-certify when we believe that the information is no longer accurate or at least
once every three years

9.8.4 Recordkeeping for Correspondent Accounts for Foreign Banks
Ru|es/Resouroes: 31 C.F.R. §§ 103.175, 103.177.

Aipine will keep records identifying the owners of foreign banks with U.S. correspondent accounts and the name
and address of the U.S. agent for service of legal process for those banks.

9.8.5 Summons or Subpoena of Foreign Bank Records; Termination of Correspondent
Reiationships with Foreign Bank
Ruies/Resouroes: USA PATRlOT Act Section 313

Upon receipt of a written request from a federal law enforcement officer for information identifying the non-
publicly traded owners of any foreign bank for which we maintain a correspondent account for a foreign bank in
the United States and/or the name and address of a person residing in the United States who is an agent to
accept service of legal process for a foreign bank's correspondent account, the AML Offioer or designee will
provide that information to the requesting officer not later than 7 days after receipt of the request

The AML Ofticer or designee will close, within 10 days, any correspondent account for a foreign bank that we
learn from FinCEN or the Department of Justice has failed to comply with a summons or subpoena issued by
the Secretary of the Treasury or the Attorney Generai of the United States or has failed to contest such a
summons or subpoena We will scrutinize any foreign bank's correspondent account activity during that 10-day
period to ensure that any suspicious activity is appropriately reported and to ensure that no new positions are
established in these foreign bank's correspondent accounts

9.9 Due Diiigence For Private Banking Accounts
Ruies/Resouroes: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart F

9.9.1 Definitions

Private banking account: A private banking account is an account that is established or maintained for the
benefit of one or more non-U.S. persons requires minimum aggregate deposit of funds or other assets of not

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less than $1,000,000l and is assigned to a bank employee who is a liaison between the financial institution and
the non-U.S. person. lf the account othenivise satisfies the definition but the institution does not require a
minimum balance of$1,000.000, the account does not qualify as a private banking account,

Senior foreign political figure includes:

o a current or former senior official in the executive, legislativel administrativel military, orjudicial
branches of a foreign government whether or not they are or were elected ofncials

- a senior official of a major foreign political party

~ a senior executive of a foreign government-owned commercial enterprise (Senior executives are
individuals with substantial authority over policy, operations, or the use of government-owned
resources.)

~ immediate family members of the above, and those who are widely and publicly known (or actually
known) close associates of a senior foreign political figure

o a corporation, business or other entity formed by or for the benefit of one of the above individuals

o a person "widely and publicly known" as a close associate of such a person

Proceeds of foreign corruption: any asset acquired by, throughl or on behalf of a senior foreign political figure
through misappropriationl theft, or embezzlement of public funds the unlawful conversion of property of a
foreign government or through acts of bribery or extortion. and include any other property into which any such
assets have been transformed or converted.

Aipine will review our accounts to determine whether we offer any private banking accounts and we will conduct
due diligence on such accountsl This due diligence will include. at least, (1) ascertaining the identity of all
nominal holders and holders of any beneficial ownership interest in the account (including information on those
holders' lines of business and sources of wealth); (2) ascertaining the source of funds deposited into the
account; (3) ascertaining whether any such holder may be a senior foreign political figure; and (4) detecting and
reporting, in accordance with applicable laws and regulations any known or suspected money laundering, or
use of the proceeds of foreign corruption

Aipine will review public information, including information available in lnternet databases, to determine whether
any private banking account holders are senior foreign political figures lf we discover information indicating that
a particular private banking account holder may be a senior foreign political ligure, and upon taking additional
reasonable steps to confirm this informationl we determine that the individual is, in fact, a senior foreign political
figurel we will conduct additional enhanced due diligence to detect and report transactions that may involve
money laundering or the proceeds of foreign corruption.

|n so doingl Aipine will consider the risks that the funds in the account may be the proceeds of foreign corruption
by determining the purpose and use of the private banking account, location of the account holder(s), source of
funds in the account, type of transactions conducted through the account and jurisdictions involved in such
transactions The degree of scrutiny we will apply will depend on various risk factors including, but not limited
to, whether the jurisdiction the senior foreign political ngure is from is one in which current or former political
figures have been implicated in corruption and the length of time that a former political figure was in office Our
enhanced due diligence might includel depending on the risk factors probing the account holders employment
historyl scrutinizing the account holder's source(s) of funds and monitoring transactions to the extent necessary
to detect and report proceeds of foreign corruption, and reviewing monies corning from government government
controlled or government enterprise accounts (beyond salary amounts).

lf Aipine does not find information indicating that a private banking account holder is a senior foreign political
figure, and the account holder states that he or she is not a senior foreign political figure, then A|pine may make
an assessment if a higher risk for money laundering, nevertheless exists independent of the classification if a
higher risk is apparent, we will consider additional due diligence measures

ln either case. if due diligence (or the required enhanced due diligence, if the account holder is a senior foreign
political figure) cannot be performed adequately, Aipine will, after consultation with the tirm's AML Ofticer or

designee and. as appropriate, not open the account, suspend the transaction activity, me a SAR-SF or close the
account

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9.9.2 Enhanced Scrutiny For Accounts Of Senior Foreign Po|iticai Figures

Accounts for senior foreign political figures (including persons and entities defined in this section) are subject to
enhanced scrutiny. Prior to opening, the account is referred to the AML Oflicer or designee for review and
approval and may consider the following steps:

~ Review the account's home country vs. OFAC lists of jurisdictions of money laundering concern and

blocked persons
o if identified on an OFAC list, report the account and close it.

¢ Review new account information about the account including employment historyl sources of income
and assets whether the person/entity has existing accounts with Alpine, length of time the RR has
known the account, who referred the accountl and other available information about account
background of the account and how the account came to Alpine.

~ if there is inadequate information or due diligence procedures cannot be performed, refuse to open the
accounth close an existing account,

o File a SAR, if appropriate
o lf the account is approved for opening, determine whether ongoing review is necessary.

o lf ongoing review is appropriate, establish duplicate statements or another method for review of
account activity by the AML Ofticer or designee.

o Review will include identifying patterns of securities transactions and securities/money transfers
that may be indicative of money laundering activity, and report such activity if necessary and close
the account

9.9.3 Private Banking Accounts introduced by a Correspondent Firm (or introducing
Firm)

ln those cases where Aipine does not impose aggregate minimum account requirements of not less than
$1,000,000 on an introduced account fora non-U.S. person and does not assign an officer, employee, or agent

to act as a liaison between the clearing firm and such an account, the introduced account will not be considered
a private banking account of the clearing firm.

ln these cases A|pine will consider the money laundering risks posed by the introducing finn. including any
information Aipine firm acquires about the account base of the introducing timi’s ordinary course of business
and through the application of the introducing firm’s anti-money laundering policies , procedures and controls

9.10 Comp|iance with FinCEN’s issuance of Special Measures Against
Foreign Jurisdictions, Financiai institutions or international Transactions
of Primary Money Laundering Concern

Ru|es/Resouroes: USA PATR|OT Act Section 311; Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart F;
F|NRA Notice to Members 06-41; FinCEN information on all special measures issued:
http:l/www.fincen.gov/reg_section31 1 .htrn|

 

 

 

 

 

 

Responsibimy o AML Ofticer or designee
~ FinCEN notification of special measures against named entities
Res°urces Transaction records
Customer account records
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Frequency ¢ As required when notified by FinCEN
o Establish blocks on opening accounts for named entities
Notify correspondent accountholders
Action o Review transactions to identify indirect use of correspondent accounts and close
such accounts
o Notices from FinCEN
Record ~ Notiiication to correspondent accountholders
o Transactions reviewed, identification of indirect use, and action taken

 

 

 

 

if FinCEN issues a final rule imposing a special measure against one or more foreign jurisdictions or financial
institutions classes of international transactions or types of accounts deeming them to be of primary money
laundering conoem, A|pine understands that we must read FinCEN’s final hile and follow any prescriptions or
prohibitions contained in that rule. For example, if the final rule deems a certain bank and its subsidiaries
(Specified Bank) to be of primary money laundering concerns a special measure may be a prohibition from
opening or maintaining a correspondent account in the United States for, or on behalf of, the Speci&ed Banks. in
that case, A|pine will take the following steps:

(1) The AML thcer or designee will review our account records including correspondent account records to
ensure that our accountholders and correspondent accountholders maintain no accounts directly for, or on
behalf of, the Specified Banks; and

(2) Aipine will apply due diligence procedures to our correspondent accounts that are reasonably designed to
guard against indirect use of those accounts by the Specified Banks.

' Notifrcation to Correspondent Accountholders

A|pine will notify our correspondent accountholders that the account may not be used to provide the Specified
Banks with access to us. Ultimately, Aipine has flexibility in determining the language used in the sample
notincation language For example. Aipine may use the following sample language, but is not limited in using the
specific language detailed below:

“Nofice: Pursuant to U.S. regulations issued under section 311 of the USA
PATR|OT Act, 31 CFR 103.192, we are prohibited from opening or maintaining a

correspondent account for, or on behalf of, [the Specified Banks]. The regulations also require us to notify you
that your correspondent account with our financial institution may not be used to provide [the Specified Banks]
with access to our financial institution lf we become aware that [the Specified Banks] are indirectly using the
correspondent account you hold at our financial institutionl we will be required to take appropriate steps to
prevent such access including terminating your account.”

Aipine will transmit a one-time notice tc our correspondent accounts by mai|, fax or email, or including the
information in the next regularly occurring transmittal to correspondent accountholders and document our
compliance with the notification requirement

' identification of indirect Use

A|pine will take reasonable steps in order to identify any indirect use of our correspondent accounts by the
Specified Banks. We will determine if such indirect use is occurring from transactional records that we maintain

in the non'nai course of business We will take a risk-based approach when deciding whatl if any, additional due
diligence measures we should adopt to guard against the indirect use of correspondent accounts by the

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Specified Banks based on risk factors such as the type of services offered by, and geographic locations of, their
correspondents

Aipine understands its ongoing obligation to take reasonable steps to identify all correspondent account services
our correspondent accountholders may directly or indirectly provide to the Specified Banks.

9.11 Detecting Potential Money Laundering

AML Ofticer or designee
Other designated supervisor(s) for review cf AML Ofticer accounts
All other employees

 

Responsibiiity

 

~ internal reports of transactions available exception reports
Resources o Perfon'nanoe of tasks and other duties typically handled as part of routine work

 

Frequency o As required

 

Al|:

o Review reports of transactions (cash and security transactions) to identify
potential money laundering (including employee accounts) , including the AML
Offioer’s accounts
Review daily reports and identify potentially suspicious activity

Action ~ Report suspicious activity (see the policy in this chapter)

AML Ofticer or designee:

o Notify RRs supervisors and close accounts in consultation with business unit
leaders when necessary

 

Reports reviewed
Action taken, when necessary

Record Suspicious activity reports and supporting documentation

 

 

 

 

A|pine has an ongoing program to identify potential money laundering. Monitoring will be conducted using
available exception reports or reviews of other reports of account activity to permit identification of patterns of
unusual size, volume, pattern or type of transactions geographic factors such as whetherjurisdictions
designated as high risk or "non cooperative" are involved, or involve "red flags" (indicators of potential money
laundering) which are included in the Money Laundering policy in the chapter GENERAL EMPLOYEE
POLICIES. items reviewed include trading and wire transfer transactions in the context of other account activity
to determine if a transaction lacks financial sense or is suspicious because it is an unusual transaction or
strategy for that customer. Among the information used to determine whether to file a suspicious activity report
are exception or transaction reports that include transaction size, location, type, number, and nature of the
activity.

9.11.1 Aipine's Emp|oyee Reporting Obiigations

Aipine has included an educational policy (Money Laundering) in the chapter GENERAL EMPLOYEE POL/C/ES
to educate employees on money laundering and guidelines for detecting money laundering activities Periodic
detection of money laundering and the obligation to report suspicious activities will be included in continuing
education and other educational programs for employees

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All employees are obligated to promptly report to the AML Ofticer or designee any known or suspected
violations of anti-money laundering policies as well as other suspected violations or crimes if the potential
violation implicates the AML Officer, it should be reported to a senior officer of A|pine All reports are conhdential
and the employee will suffer no retaliation for making them.

What to reports Crimes or suspected crimes by individuals (whether associated with Alpine, a customer, or
prospective customer) are required to be reported. This includes suspicion that A|pine is being used as a
conduit for criminal activity such as money laundering or structuring transactions (discussed below) to evade the
BSA reporting requirements There is no clear definition of what constitutes a "crime." lf you believe some
improper or illegal activity is occurring, it is your obligation to be attentive and alert to the red flags and report to
the AN|L Ofticer or designee any new or existing customers who may be engaged in potential violations of anti-
money laundering regulations

SAR reports: By law, Aipine and its employees cannot disclose to the customer or anyone other than
authorized parties that it has filed a SAR or provide information that would reveal the existence of a SAR.
Questions regarding SAR H|ings should be referred to Compliance. lf you become aware of an unauthorized
disclosure of an SAR or you receive a subpoena for an SAR, immediately contact the Comp|iance
Department Designated Comp|iance personnel will be responsible for contacting FlNCEN to report the
unauthorized disclosure

9.11.2 Roie Of Operations Personnel

Operations personnel are an important first line of defense in preventing transactions with sanctioned parties
The following guidance is provided to assist Operations personnel in identifying blocked parties Any questioned
accounts or transactions should be referred to the AML Ofticer or designee

o On a monthly basis the AML thcer or designee shall provide a current list of countries included on the
OFAC list, These are countries considered potential havens for money |aundering, drug trafficking, or
terrorist activities information is included on the OFAC web site at www.treas.gov/ofac.

~ On a periodic basis the AML Ofticer or designee shall provide a current list of countries included on the
Financiai Action Task Force (FATF) list, The Financiai Action Task Force (FATF) is the global standard
setting body for anfi-money laundering and combating the financing of terrorism. in order to protect the
international financial system from money laundering and financing of terrorism risks and to encourage
greater compliance with their standards the FATF identified jurisdictions that have strategic deficiencies
and works with them to address those deficiencies that pose a risk to the international financial system.

- When processing the opening of accounts Operations employees shall determine if new accounts have
addresses as residents of countries included on the OFAC list and report any that appear on the list to
the AML Ofticer or designee

~ Questions regarding requests to transfer funds or securities to residents or entities domiciled in any
country included on the OFAC list shall be reported to the AML Ofticer or designee

9.11.3 Roie of Retail Brokerage Personnel

Retail sales personnel are also an important nrst line of defense in identifying, detecting and/or preventing
transactions Retail sales personnel are in a unique position of knowing the client best lt is important that you
understand the customers financial resources business activities and sources of funds to identify when
purported or actual activity deviates from the standard transactions one expects to see in a customer account
The process of knowing the customer does not end at the time the account established The process of knowing
the customer continues through the ongoing maintenance of the client's account Any questioned accounts or
transactions should be referred to the AML Oflicer or designee

9.11.4 Monitoring Accounts for Suspicious Activity

Ru|es/Resources USA PATR|OT Act Sec. 356; FinCEN Guidance on Suspicious Activity Report Supporting
Documentation: http://www.incen.gov/Supporting_Documentation_Guidance.pdf; FinCEN Guidance FlN-ZOOB-
GOOS

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Responsibimy o AML Ofticer or designee

 

Reports from employees of crimes or suspected crimes
Suspicious activities detected through ongoing reviews

Resources Other available information

 

Frequency ° As required

 

Review and investigate suspicious transactions referred by employees
Determine whether Aipine will nle a SAR

|f appropriate, file Form SAR-SF with FinCEN and state authorities
Notify senior management as appropriate of forms filed

Action

 

Notes and other documented reviews are retained in a suspicious activity n|e
~ Copies of SARs filed by Aipine are retained in the SAR file with notation of when

Record and to whom sent

 

 

 

 

A|pine will file Suspicious Activity Reports (SARs) for transactions that may be indicative of money laundering
activity. Suspicious activities include a wide range of questionable activities Exampies may include, but are not
limited to, trading that constitutes a substantial portion of all trading for the day in a particular security; trading or
joumaling between/among accounts particularly between related owners; late clay trading; heavy trading iri low-
priced securities activities indicative of market manipulation or insider traderl unexplained wire transfers
including those to known tax havens; unusually large deposits of funds or securities; shares of physical
securities of low-priced securities that have an issue date of less than 12 months and are more than one million
shares or have a market value over a certain amount

Deten'nining whether an activity or series of activities is suspicious is a facts and circumstance analysis and will
be made by the AML Ofticer or designee,

Aipine will monitor account activity for unusual size, volume, pattern or type of transactions taking into account
risk factors and red fiags that are appropriate to our business (Red flags are identified below.) A|pine will
conduct the following reviews of activity that our monitoring system detects:

 

Report Name Report Description

This report is used to identify potential matches between the OFAC SDN
List and the customer/prospective customer.

 

OFAC Report

 

Accounts in Non-Cooperative This report compares the account holders address against the FATF list
countries of non-cooperative countries to screen for matches

This report lists all Cash Movements or ACH activities in accounts not
domiciled or organized in the US or USA.

 

Foreign Account Activity

 

Account Activity in Non-
Cooperative and Biocked
Countries

This report displays any trade activity for accounts with addresses in non-
cooperative or blocked countries for the previous business day.

 

 

 

This report lists all foreign correspondent banks to comply with PATRlOT Act

F°'°'g“ °°"°sp°"d°“ts sections 312, 313, and 319(b).

 

currency Activity $sK or greater §hi(s) 53%%% lists all cash movements or ACH activities between $5,000 and

 

 

 

Transmittal Activity This report/query lists all transmittal activity.

 

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t Trade Biouers This report iisis air trading activity.

 

The AML Ofticer or designee will document our monitoring and reviews as follows:

~ Denote the review date, reviewer name (or initial or signature) and action taken on the electronic or
paper report; or
- Other format as authorized by the AML Ofticer or designee

The AML Officer or designee will conduct an appropriate investigation and review relevant information from
internal or third-party sources before a SAR-SF is filed which is further discussed in the section titled
“Responding to Red Fiags and Suspicious Activity”.

The AML Ofncer or designee will be responsible for this monitoring, will review any activity that our monitoring
system detects, will determine whether any additional steps are requiredl will document when and how this
monitoring is carried out. and will report suspicious activities to the appropriate authorities

9.11.5 Emergency Notification to Law Enforcement by Telephone
Ru|es/Resources F|NRA Notice to Members 02-21

in situations involving violations that require immediate attention, such as terrorist tinancing or ongoing money
laundering schemes the AML Officer or designee will immediately call an appropriate law enforcement
authority. if a customer or company appears on OFAC’s SDN list, the AML Officer or designee will call the
OFAC Hotline at (800) 540-6322. Other contact numbers Aipine will use are: FinCEN’s Financiai institutions
Hotline (866- 556-3974) (especially to report transactions relating to terrorist activity), local U.S. Attorney’s office
(801-524-5682), local FB| office (801-579-1400) and local SEC office (801-524-5796) (to voluntarily report such
violations to the SEC in addition to contacting the appropriate law enforcement authority). if A|pine notifies the
appropriate law enforcement authority of any such activity, A|pine must still file a timely SAR-SF.

Aithough Aipine is not required to, in cases where we have filed a SAR-SF that may require immediate attention
by the SEC, we may contact the SEC via the SEC SAR Alert Message Line at (202) 551-SARS (7277) to alert
the SEC about the hling. A|pine understands that calling the SEC SAR Alert Message Line does not alleviate our
obligations to file a SAR-SF or notify an appropriate law enforcement authority.

9.11.6 Potential Red Fiags
Rules/Resources: NASD Notice to Members 02-21

The following are examples of risk indicators (red flags) that may suggest potential money launderingl This is
not an all-inclusive list,

 

Red Fiags indicating potential Money Laundering_
Customers - insufficient or Suspicious lnfonnation
The customer exhibits unusual concern regarding
Aipine's compliance with government reporting
requirements and Aipine's AML policies particularly
with respect to his or her identity, type of business and

ssets, or is reluctant or refuses to reveal any
nformation concerning business activities or furnishes
unusual or suspect identification or business
documents that cannot readily be verified
The customer wishes to engage in transactions that
ack business sense or apparent investment strategy,
or are inconsistent with the customers stated business

 

 

 

 

 

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trategy.
he information provided by the customer that

dentifies a legitimate source for funds is false,
isleadingl or substantially incorrect
he customer refuses to identify or fails to indicate any
egitimate source for his or her funds and other assets
hen requested
he customer (or a person publicly associated with the
ustomer) has a questionable background or is the
ubject of news reports indicating possible criminal,
civi|, or regulatory violations

 

The customer exhibits a lack of concern regarding
risks commissions or other transaction costs

 

The customer appears to be acting as an agent for an
undisclosed principall but declines or is reluctant,
without legitimate commercial reasons to provide
information or is otherwise evasive regarding that
erson or entity.

 

The customer has difficulty describing the nature of his
or her business or lacks general knowledge of his or
her industry.

 

Customer appears reluctant to provide complete
information about nature and purpose of business
ofhcers and directors or business location

 

Customer has no discernable reason for utilizing the
firm's services

 

Effor\s to Avoid Reporth and Recordkeeping_
Customer attempts to persuade an employee not to file
required reports or not to maintain required records

 

Customer is reluctant to provide information needed to
Fle reports or fails to proceed with a transaction when
nforrnation is requested
ustomer engages in transactions involving cash or
ash equivalents or other monetary instruments that
ppear to be structured to avoid the $10,000
government reporting requirements especially if the
cash or monetary instruments are in an amount just
below reporting or recording thresholds.

 

 

Certain Funds Transfer Activities

 

The customer engages in activity involving the practice
of depositing penny stocks liquidating theml and wiring
proceeds A request to liquidate shares may also
represent engaging in an unregistered distribution of
penny stocks which may also be a red fiag. [F|NRA
Regu|atory Notice 09-05]

The customer attempts to make frequent or large
deposits of currency, insists on dealing only in cash
Euivalents, or asks for exemptions from Aipine's

 

olicies relating to the deposit of cash and cash
uivalents

he customer engages in transactions involving cash

r cash equivalents or other monetary instruments that

ppear to be structured to avoid the $10.000
govemment reporting requirements especially if the
cash or monetary instruments are in an amount just
below reportiM recordithhresholds.

 

 

 

For no apparent reason. the customer has multiple

 

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ccounts under a single name or multiple names with
lar e number of inter-account or third-party transfers
he customer is from, or has accounts in, a country
dentified as a non-cooperative country or territory by
he Financiai Action Task Force (FATF).

Ehe customer’s account has unexplained or sudden

   
  

xtensive wire activity, especially in accounts that had
ittle or no previous activity.

 

The customers account shows numerous currency or
cashier’s check transactions aggregating to significant
sums

 

The customers account has a large number of wire
transfers to unrelated third parties inconsistent with the
customers legitimate business purpose

 

The customers account has wire transfers that have no
pparent business purpose to or from a country
dentified as a money laundering risk or a bank secrecy
even
he customer makes a funds deposit followed by an

mmediate request that the money be wired out or
ransferred to a third party, or to another firm. without
ny apparent business purpose

 

 

The customer makes a funds deposit for the purpose o
purchasing a long-term investment followed shortly
thereafter by a request to liquidate the position and
transfer of the proceeds out of the account

 

The customer engages in excessive journal entries
between unrelated accounts without any apparent
business purpose

 

The customer requests that a transaction be processed
in such a manner to avoid Aipine's normal
documentation requirements

 

Certain Deposits or Dispositions of Physical
Certificates

 

Physical certificate is titled differently than the account

 

Physical certificate does not bear restrictive legend, but
based on history of the stock and/or volume of shares
trading, it should have such a legend.

 

Customers explanation of how he or she acquired the
certificate does not make sense or changes

 

Customer deposits the certihcate with a request to
ournal the shares to multiple accounts or to sell or
otherwise transfer ownership of the shares

 

Certain Securities Transactions

 

The customer. for no apparent reason or in conjunction
with other "red flags" engages in transactions involving
certain types of securities such as penny stocks
Regu|ation "S" (Reg S) stocks, and bearer bonds
which although legitimate, have been used in
connection with fraudulent schemes and money
aundering activity. (Such transactions may warrant
further due diligence to ensure the legitimacy of the
ustomers activity.)

[he customers account shows an unexplained high

 

evel cf account activity with very low levels of
ecurities transactions
mie customer maintains multiple accounts or

 

 

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maintains accounts in the names of family members or
corporate entities, for no apparent business purpose or
other purpose.

Ehe customers account has innows of funds or other

 

 

ssets well beyond the known income or resources of
he customer.
Eustomer journals securities between unrelated

ccounts for no apparent business reason.
Customer engages in prearranged or other non-
competitive trading, including wash or cross trades of
lil|iquid securities

he entering of a sell (or buy) order by a client knowing
hat a corresponding buy (or sel|) order of substantially
he same size, at substantially the same time and at

ubstantia|ly the same price has been or will be

ntered by another client.
Trades by single clients or clients trading in
coordination that consists of large percentages of the
jsecurities volume.

arties that use algorithms to trade in a particular
ecurity by placing and then cancelling layers of orders
n that security, creating fluctuations in the national beall
id or offer of that security, increasing order book depth
nd using the non-bona fide orders to send false
ignals regarding the demand for such securityl which
he algorithms misinterpreted as reflecting sincere
emand. Layering orders are intended to deceive
ertain algorithms into buying (or Se|ling) stocks from
or to) the layering traders bona fide trade at prices that
re artificially raised (or lowered) by the layering trader.
Customers trading patterns suggest that he or she
may have inside information
Transactions lnvo|viqufenny Stock Companies
Company has no business, no revenues and no
roduct
Company has experienced frequent or continuous
changes in business structure
thcers or insiders of the issuer are associated with
multiple penny stock issuers.
Company undergoes frequent material changes in
business strategy or its line of business
Ofticers or insiders of the issuer have a history of
Yurities violations

ompany has not made disclosures in SEC or other
e u|atory filings.

ompany has been the subject of a prior trade
uspension.

Other Suspicious Customer Activity

Funds deposits for purchase of a long-term investment
ol|owed shortly by a request to liquid the position and
transfer proceeds out of the account,
Law enforcement subpoenas
Large number of securities transactions across a
number of jurisdictions
Buying and selling securities with no purpose or in
unusual circumstances (e.g. churning at customers

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

request).

 

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anment by third-party check or money transfer without
n apparent connection to the customer.

Payments to third-party without apparent connection to
customer.

 

 

 

 

ln view of the risk factors listed in the section titled “Potential Red Fiags" as well as perhaps
other circumstances A|pine frequently conducts additional inquiries to determine whether
filing a SAR is warranted. Further, as part of its efforts to review the proposed resale of
restricted or control securities A|pine frequently gains additional information about its
customer or proposed securities transactions Additional investigation may either heighten
Aipine's suspicions about activity or demonstrate that initial concerns are not confirmed and
that the subject person's proposed activities appear legal, reasonablel and for a legitimate
business purpose when all of the circumstances are considered as a whole. Where such
further inquiry demonstrates that filing a SAR is warranted, it is Aipine's policy to do so.
Similarlyl in some circumstances stock may be tendered in circumstances that suggest or
make one suspicious that the proposed resale may be part of a scheme to illegally distribute
stock without registration (e.g. Section 5 violations). ln those circumstances A|pine would
ordinarily file an SAR. Conversely, when such further investigations overcome the initial
suspicions or risk factors and suggest that the proposed activities or transactions are legal,
reasonablel and for a legitimate business purposel Aipine will not file a SAR,

9.11.6.1 Potential Red Fiags cont.d

ln view of the risk factors listed in the section titled “Potentia| Red Fiags" as well as perhaps
other circumstances Aipine frequently conducts additional inquiries to determine whether
filing a SAR is warranted. Further, as part of its efforts to review the proposed resale of
restricted or control securities A|pine frequently gains additional information about its
customer or proposed securities transactions Additional investigation may either heighten
Aipine's suspicions about activity or demonstrate that initial concerns are not confirmed and
that the subject person's proposed activities appear legal, reasonable, and for a legitimate
business purpose when all of the circumstances are considered as a whole. Where such
further inquiry demonstrates that filing a SAR is warrantedl it is A|pine’s policy to do so.
Similarly, in some circumstances stock may be tendered in circumstances that suggest or
make one suspicious that the proposed resale may be part of a scheme to illegally distribute
stock without registration (e.g. Section 5 violations). |n those circumstances A|pine would
ordinarily file an SAR. Conversely, when such further investigations overcome the initial
suspicions or risk factors and suggest that the proposed activities or transactions are lega|,
reasonable, and for a legitimate business purpose, A|pine will not tile a SAR.

9.11.6.2 Circumstances ln Which A SAR May Not Be Filed

The following circumstances intended to be illustrative and not exhaustive, tend to suggest that initial
suspicions may not warrant filing a SAR.

~ A foreign customer provides evidence respecting the legitimacy of the source of the funds or securities
deposited with A|pine as part of regularl common business activity, such as investing in restricted
securities

o lVlultip|e transaction in securities result from contractual limitations for resales or a person's desire to
limit negative market impacts

~ Several investors in a single issuer seek to liquidate their securities acquired to provide legitimate
financing to such issuer.

~ Offshore accounts are held in jurisdictions that are not identified by the Financiai Action Task Force as
maintaining an inadequate AML/CFT regime.

~ Customers provide information requested even though the accounts are maintained in jurisdictions
where local laws regulations or provisions (such as privacy laws) prevent or limit the collection of client
identification information,

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o Customers are not senior political or government officials ("politically exposed persons") of a foreign
govemment.

o Customers that are closely held corporations partnerships limited liability companies or similar entities
appear to have been formed for legitimate and lawful purposes

~ Entities that appear to be engaged in some sort of financial services or investment activities appear
properly licensed in their home jurisdiction
Customers who are non-resident aliens have legitimate business activities and purposes
Entities are willing to disclose their beneficial owners and the persons who own the securities
beneficially.

~ Securities issued by foreign investment funds or other issuers are engaged in legitimate activities and

do not appear to provide nnancing to sanctioned governments or parties

Foreign securities are issued in registered, as opposed to bearer, fonn.

Transparent ownership, control, and activities

Full identification (i.e., passport or similar photo identincation) of principals and beneficial owners

Transactions in recognized financial markets

Ful|y disclosed details about accounts or proposed activities notwithstanding the availability of local

privacy or information shield laws

ln some circumstances customers tender restricted stock for public resale without restriction that, upon
investigation and review. does not appear eligible for resale. ln the absence of special incriminating
circumstances such as evidence of part of a larger scheme to illegally distribute stock without registration. the
fact that A|pine determines that the stock is not currently eligible for resale without registration is not deemed to
warrant filing an SAR. Requests for other A|pine action that it ultimately determines not to effect are considered
similarly and treated similarly with respect to not filing a SAR_

9.11.6.3 Exclusions from SAR Fi|ing

The AML Ofticer or designee is not required to file a SAR involving violations otherwise reported to law
enforcement authorities such as:

a robbery or burglary that is reported to law enforcement authorities

lost, missing, counterfeit or stolen securities reported pursuant to 17f-1

a violation of federal securities laws or SRO rules by Alpine, its of&cers, directors employees or RRs
that are reported to the SEC or SRO, except for violations of Rule17a-8 (filing of Currency and
Transaction Reports) which must be reported on a SAR

9.11.6.4 Responding to Red Fiags and Suspicious Activity

When an A|pine employee defects any red flag, or other activity that may be suspicious the employee must
notify the AML Ofticer or designee. Under the direction of the AML Ofticer or designeel Aipine will determine
whether or not and how to further investigate the matter. This may include gathering additional information
internally or from third-party sources contacting the govemment. freezing the account and/or filing a SAR-SF.

9.11.6.5 identifying Potential Suspicious Activity
A|pine uses a number of tools to identify potential suspicious activity including:

o Transaction information including disbursement of funds or securities are reviewed periodically by the
OSJ Branch Manager and Trading personnel (as it relates to trading activity) and AN|L thcer or their
designees

- The AML Ofticer or designee provides education to Aipine's RR, to Supervisors approving new
accounts operations personnel and to the OSJ Branch Manager.

~ Emp|oyee reports of potential suspicious activity are given to the AML Ofncer or designee.

- lt is always at the AML Officers (or designee's) discretion, when taking into consideration all factors
whether a SAR should be filed.

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All employees have an ongoing obligation to report potentially suspicious activity to the AML Ofticer or designee.

9.11.6.6 Suspicious Transactions and BSA Reporting

9.11.6.6.1 Fi|ing A SAR

A|pine will Hle SAR-SFs with FinCEN for any transactions (including deposits and transfers) conducted or
attempted by, at or through our firm involving $5,000 or more of funds or other assets (either individually or in
the aggregate) where A|pine knows suspects or has reason to suspect:

c The transaction involves funds derived from illegal activity or intended or conducted to hide or disguise
funds or assets derived from illegal activity as part of a plan to violate or evade federal law or regulation
or to avoid any transaction reporting requirement under federal law or regulation

~ the transaction is designed, whether through structuring or other means to evade the requirements of
the Bank Secrecy Act (BSA).

» The transaction has no business or apparent lawful purpose or is not one in which the customer would
normally be expected to engage, and after examining the background, possible purpose of the
transaction and other facts A|pine knows of no reasonable explanation for the transaction, or

o The transaction involves the use of A|pine to facilitate criminal activity.

9.11.6.6.2 SAR Fi|ing Deadlines

The AML Ofticer or designee will report suspicious transactions by completing a SAR-SF, and will collect and
maintain supporting documentation as required by the BSA regulations The AML Ofticer or designee will file a
SAR-SF no later than 30 calendar days after the date of the initial detection of the facts that constitute a basis
for filing a SAR-SF. |f no suspect is identified on the date of initial detection, we may delay filing the SAR-SF for
an additional 30 calendar days pending identification of a suspect, but in no case will the reporting be delayed
more than 60 calendar days after the date of initial detection The phrase “initial detection” does not mean the
moment a transaction is highlighted for review. The 30-day (or 60-day) period begins when an appropriate
review is conducted and a determination is made that the transaction under review is “suspicicus" within the
meaning of the SAR requirements A review should be initiated promptly upon identihcation of unusual activity
that warrants investigation

9.11.6.7 Currency Transaction Reporting

Ru|es/Resources SEC Securities Exchange Act of 1934 Ruie 17a-8; Bank Secrecy Act 31 CFR Chapter X Part
1023 Subpart C; FinCEN pamphlet on CTR reporting: http://www.nncen.qov/whatsnew/html/20090224.htmll

9.11.6.7.1 Definitions

"Currency" is defined as the coin and paper money of the U.S. or legal tender of other countries Currency also
includes U.S. silver certificates U.S. notes federal reserve notes and official foreign bank notes customarily
used and accepted as a medium of exchange in a foreign country,

The Bank Secrecy Act requires broker-dealers to report certain transactions relating to currency transactions as
follows:

~ Report cash or currency deposits of more than $10,000, including multiple deposits on the same day
that would total more than $10,000. A currency Transaction Report (CTR) is filed with the Financiai
Crimes Enforcement Network (FinCEN), a bureau of the Treasury Department Some state regulators
also require reporting of currency transactions

o Report currency or bearer instruments over $10,000 transferred into or out of the U.S. The Currency
and Monetary lnstrument Transportation Report (CM|R) is filed with the U.S. Customs Service.

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The following summarizes the reporting requirements under the Bank Secrecy Act. Aipine's CFO or designee is
responsible for maintaining records of any currency reports required to be filed by A|pine and retaining them for
five years

9.11.6.7.2 Transactions involving Currency Over $10,000

lf A|pine accepts a currency deposit exceeding $10,000, it is required to electronically file a Currency
Transaction Report (CTR, Fom'i 104) with the Financiai Crimes Enforcement Network (FinCEN). Mu|tiple
transactions by the same person equaling over $10,000 in any one day must also be reported. Aipine's COO or

designee is responsible for filing these reports by the 15th calendar day after the day cf the transaction and
maintaining records of them for a period of five years from the filing date.

Operations personnel are responsible for receiving currency and will process these requests in accordance with
their standard operating procedures Currency deposits in the amount greater than $10,000 will be reported to
the AML Ofticer or designee. Mu|tiple transactions by the same person equaling over $10,000 in any one day
must also be reported to the AML Officer or designee. The AML Ofticer or designee will notify Aipine's COO or
designee to complete the required filings

9.11.6.8 1 .12.2 Transactions involving Currency Or Bearer instruments Over $10,000
Transferred into Or Outside The U.S.

Broker-dealers are required to file a Currency and Monetary lnstrument Transportation Report (CM|Rl Form
105) with the U.S. Customs Service to report transactions in physical currency and/or bearer instruments which
alone or in combination exceed $10,000 and which are shipped or transported into or outside the U.S. This filing
is not required for currency or other monetary instruments mailed or shipped through the postal service or by
common carrier. Aipine's COO or designee is responsible for filing these reports and maintaining these records
for the required retention period. Refer to the section titled "Recordkeeping Requirements” for more information
The COO or designee will file a ClVllR with the Commissioner of Customs if we discover that we have received
or caused or attempted to receive from outside of the U.S. currency or other monetary instruments in an
aggregate amount exceeding $10,000 at one time (on one calendar clay or, if for the purposes of evading
reporting requirements on one or more days). The COO or designee will also file a CN||R if we discover that we
have physically transported, mailed or shipped or caused or attempted to physically transport, mail or ship by
any means other than through the postal service or by common carrier currency or other monetary instruments
of more than $10.000 at one time (on one calendar day orl if for the purpose of evading the reporting
requirements on one cr more days). Aipine will use the ClV|lR Form provided on FinCEN’s Web site.

9.1 1.6.9 Prohibition Against Structuring Deposits To Avoid Reporting

Cash or currency deposits or attempted deposits which appear to be part of a deposit structure to avoid IRS or
Customs currency reporting requirements or Aipine's limitations or are othenivise suspicious may not be
accepted and must be reported to the OSJ Branch Manager. Emp|oyees are prohibited from:

¢ aiding or advising a customer in structuring a transaction to avoid reporting requirements
o holding instruments for deposit on succeeding days
o transporting cash or cash equivalents or bearer instruments to a bank on behalf of a customer

9.11.6.10 State Reporting Requirements

States have adopted various currency and suspicious activity reporting requirements Most states have entered
into an agreement with FinCEN to provide them with duplicate copies of forms filed by broker-dealers Some
states however, require duplicate filing with the states themselves at the time the broker-dealer files with a
federal agency. Aipine's CFO or designee will file reports as required under state requirements

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9.11.6.11 Foreign Financiai Account Reporting Requirements And Recordkeeping (FBAR)

Ru|es/Resources Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart C; Form:
http://www.fincen.govlforms/files/f9022-1_f’oar.pdf; FinCEN Notice 2012-1

Certain "United States persons" that maintain accounts (including any account where the person has a nnancial
interest in, or signature or other authority over) in foreign jurisdictions and with aggregate balances exceeding
$10,000 are required to electronically file a Report of Foreign Bank and Financiai Accounts (FBAR) Department

of Treasury Form 90-22.1 with FinCEN on or before June 30th of each calendar year for accounts maintained
during the previous calendar year. Certain U.S. persons with signature authority over, but no financial interest in,
foreign financial accounts of their employers and entities related to their employers have an extension until June
30. 2013 to file Form 90-22.‘| (see FinCEN Notice 2012-1). The F|NOP or designee is responsible for filing the
annual report if it is required for Alpine.

The filing requirement applies to:

Non-resident aliens and foreign entities "in and doing business" in the U.S.

All forms of U.S. business entities trusts estates with foreign accounts

U.S. citizens and residents with signature or other authority over a foreign account

Trust beneficiaries with a greater than 50% beneficial interest in a trust with a foreign account.

U.S. citizens and resident stockholders with greater than 50% of the value or vote of the shares cfa
corporation with foreign accounts

¢ Entities that are disregarded for tax purposes such as limited liability companies

The filing requirement does not apply to certain entities or situations The regulation should be consulted for
specific exemptions or conditions of exemptions

o lfthe account is maintained in the United States it is not considered a foreign account even if it holds
foreign assets

~ An omnibus account held by a custody bank that holds assets both in the U.S. and outside the U.S. is
not considered a foreign account unless the customer has direct access to its foreign holdings
maintained at the foreign institution

o Certain entities are excluded including: foreign hedge funds venture capital funds or private equity
funds; tax-exempt investors that own offshore "blccker corporations;" government pension funds;
pension plan participants and lRA owners (provided the trustee files a FBAR); investment advisers and
employees of such advisers that provide advice to SEC-registered entities; remainder interests in trusts
and benenciaries of discretionary trusts; employees of a U.S. or foreign entity that issued a class of
foreign equity (including ADRs) registered with the SEC.

There also are exemptions for officers or employees with signature or other authority over certain foreign
Enancial accounts but no inancial interest in the reportable account, The regulation should be consulted for
details regarding who is not required to notify FinCEN regarding signature or other authority over such an
account,

9.1 1 .6.12 Monetary instrument Purchases

Ru|es/Resources: 31 C.F.R. § 103.29. See also 31 C.F.R. 103.22(b)l 52 Fed. Reg. 52250(October17, 1994)
(Final Ruie Amendments to BSA Regu|ations Re|ating to identification Required to Purchase Bank Checks and
Drafts, Cashier’s Checks Money Orders and Travelers Checks).

A|pine does not issue bank checks or drafts cashiers checks money orders or travelers checks in the amount
of $3,000 or more.

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9.11.6.13 Fund Transmitta|s of $3,000 or More Under the Travel Rule

Ru|es/Resources Bank Secrecy Act 31 CFR Chapter X Part 1010 Subpart D; F|NRA Notice to Members 97-13,
96-67 and 95-69; SEC Q&As: http://www.sec.gov/about/offices/ocielaml2007lhncen-advissu7.pdf; SEC Q&As:
http://www.sec.gov/about/offices/ocielaml2007/fincen-advsiii.pdf

When Aipine is the transmittors financial institution in funds of $3,000 or more for domestic and international
funds transfers (including wire fund transfers), A|pine will retain either the original or a copy (e.g., microfilm,
electronic record) of the transmittal order. Aipine will also record on the transmittal order the following
information: (1) the name and address of the transmitter; (2) if the payment is ordered from an account, the
account number; (3) the amount of the transmittal order. (4) the execution date of the transmittal order', and (5)
the identity of the recipient’s financial institution ln addition, A|pine will include on the transmittal order as many
of the following items of information as are received with the transmittal ordei“. (1) the name and address of the
recipient; (2) the account number of the recipient; (3) any other specific identifier of the recipient; and (4) any
form relating to the transmittal of funds that is completed or signed by the person placing the transmittal order.

A|pine is not required to retain this information if it involves transfers between accounts that are not for the same
owner and transfers to third parties including banks and other financial institutions

A|pine will also verify the identity of the person placing the transmittal order (if we are the transmitting firm),
provided the transmittal order is placed in person and the transmitter is not an established customer of the firm
(i.e.. a customer of the firm who has not previously maintained an account with us or for whom we have not
obtained and maintained a tile with the customers name. address taxpayer identification number, orl if none,
alien idenfincation number or passport number and country of issuance). lf a transmitter or recipient is
conducting business in personl A|pine will obtain:

1. the person's name and address;

2. the type of identification reviewed and the number of the identification document (e.g., drivers license);
and

3. the person’s taxpayer identification number (e.g., Social Security or employer identincation number) or,
if none. alien identification number or passport number and country of issuance, or a notation in the
record the lack thereof

|f a transmitter or recipient is not conducting business in person, A|pine will obtain the person's name, address
and a copy or record of the method of payment (e.g., check or credit card transaction). ln the case of
transmitters only, Aipine will also obtain the transmitters taxpayer identification number (e.g., Social Security or
employer identification number) or, if none, alien identification number or passport number and country of
issuance, or a notation in the record of the lack thereof. |n the case of recipients only, Aipine will obtain the
name and address of the person to which the transmittal was sent.

Records of transfers are available for inspection by regulators and other appropriate authorities when
requested.

9.11.6.14 Foreign Currency Transactions

Foreign financial institutions may purchase U.S.-denominated bonds, generally issued by foreign governments
with the local currency, which are then transferred to a U.S. broker-dealer and sold, with proceeds then
transferred offshore U.S. broker-dealers act as intermediaries in these transactions and may receive foreign
bonds or other securities worth millions of U. S. dollars without knowing who or how many underlying customers
may be involved. RRs and Aipine must be diligent about such transactions which may involve money
laundering

9.11.7 AML Recordkeeping Requirements

Ru|es/Resources Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart D

a. Responsibiiity for Required AML Records and SAR-SF Fi|ing

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Aipine's AML Ofncer or designee is responsible for ensuring that SAR-SFs are filed as required and retaining all
related documentation for a period of five years from the filing date. Each of the parties responsible for filing the
CTRs, CNlle. FBARs and relevant documentation on customer identity and verification and funds transmittals
will be responsible for ensuring that such records are maintained properly at least five years from the Hling date.
A|pine will keep other documents according to existing BSA and other recordkeeping requirements including
certain SEC rules that require six-year retention periods (e.g.l Exchange Act Rule 17a-4(a) requiring firms to
preserve for a period of not less than six years all records required to be retained by Exchange Act Ruie 17a-
3(a)(1)-(3), (a)(5)l and (a)(21)-(22) and Exchange Act Ruie 17a-4(e)(5) requiring firms to retain for six years
account record information required pursuant to Exchange Act Rule 17a-3(a)(17)).

b. SAR-SF Maintenance and Confidentiality

A|pine will hold SAR-SFs and any supporting documentation confidential. Aipine will not inform anyone outside
of FinCEN, the SEC, an SRO registered with the SEC or other appropriate law enforcement or regulatory
agency about a SAR-SF. A|pine will refuse any subpoena requests for SAR-SFs or for information that would
disclose that a SAR-SF has been prepared or filed and immediately notify FinCEN of any such subpoena
requests that we receive, A|pine will segregate SAR-SF filings and copies of supporting documentation from
other linn books and records to avoid disclosing SAR-SF filings Our AML Ofticer or designee will handle all
subpoenas or other requests for SAR-SFs. A|pine may share information with another financial institution about
suspicious transactions in order to determine whether Alpine will jointly file a SAR according to the provisions
set forth elsewhere in this Po|icy. ln cases in which A|pine file a joint SAR for a transaction that has been
handled both by us and another financial institution, both Enancial institutions will maintain a copy of the filed
SAR,

i. Providing SARs information To SROs
Ru|es/Resources SEC letter to CEOs: http:/lwww.sec.gov/about/ofticeslocie/brokerdealerletter.htm

While SARs are to be treated as confidentiall A|pine will provide SARs and supporting documentation available
to any self-regulatory organization (SRO) that examines Aipine for compliance with the SAR Rule, as requested
by the SEC (see SEC letter to CEOs referenced above). The request may be part of a routine examination an
investigation, or part of the SRO‘s risk assessment effort within its examination program.

ii. Prohibition Against Disc|osure

By statute and regulation A|pine may not inform customers or third parties that a transaction has been reported
as suspicious U.S. Treasury and Federal Reserve Board regulations also require Aipine to decline to produce
SARs in response to subpoenas and to report to FinCEN and the Federal Reserve Board the receipt of such
requests and Aipine's response. Failure to maintain the confidentiality of SARs may subject an employee to civil
and criminal penalties under Federal law. Violations may be enforced through civil penalties of up to $100,000
for each violation and criminal penalties of up to $250,000 and/or imprisonment not to exceed five years A|pine
may also be liable for civil money penalties resulting from AML denciencies that led to improper SAR disclosure
up to $25,000 per day for each day the violation continues

Procedures to protect the confidentiality of SARs may include, but not be limited to, the following:
~ Access to SARs is limited to employees on a "need-to-know" basis
o SARs may be maintained in locked physical or contained to electronic files
o SARs may not be left on desks or on open computer files and may not be viewed by unauthorized
persons
~ SARs shared with others will be clearly marked "Confidentia|"

The CCO or designee (or Aipine's legal department) is responsible for responding to subpoena requests and the
AML thcer or designee for will notify FinCEN and our primary federal regulator, where required by law.

iii. Recipient of an Unauthorized SAR Disc|osure

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lf you become aware of an unauthorized disclosure cfa SAR or if you receive a subpoena request for a SARl
immediately contact the Comp|iance Departmentl Comp|iance will contact FlNCEN‘s Oftice of Chief Counsel at
(703) 905-3590. A|pine may also be required to contact our primary federal regulator.

c. Additional Records
Ru|esiResources: Bank Secrecy Act 31 CFR Chapter X Part 1023 Subpart D 1023.410
Aipine shall retain either the original or a microfilm or other copy or reproduction of each of the following:

~ A record of each extension of credit in an amount in excess of $10,000, except an extension of credit
secured by an interest in real property. The record shall contain the name and address of the person to
whom the extension of credit is made, the amount thereof, the nature or purpose thereof and the date
thereof;

- A record of each advice, request or instruction received or given regarding any transaction resulting (or
intended to result and later canceled if such a record is normally made) in the transfer of currency or
other monetary instruments funds checks investment securities or credit, of more than $10,000 to or
from any person account or place outside the U.S.;

~ A record of each advicel request or instruction given to another financial institution (which includes
broker-dealers) or other person located within or without the U.S., regarding a transaction intended to
result in the transfer of funds or of currency, other monetary instruments checks, investment securities
or credit, of more than $10,000 to a person account or place outside the U.S.;

¢ Each document granting signature or trading authority over each customers account;

o Each record described in Exchange Act Rule 17a-3(a): (1) (blotters)l (2) (ledgers for assets and
liabilities income, and expense and capital accounts)l (3) (ledgers for cash and margin accounts)l (4)
(securities log)l (5) (ledgers for securities in transfer. dividends and interest received, and securities
borrowed and loaned), (6) (order tickets)l (7) (purchase and sale tickets), (8) (confirms), and (9) (identity
cf owners of cash and margin accounts);

¢ A record of each remittance or transfer of funds or of currency, checks, other monetary instruments
investment securities or creditl of more than $10,000 to a person account or place, outside the U.S.;
and

~ A record of each receipt of currency, other monetary instruments checks or investment securities and of
each transfer of funds or credit, of more than $10,000 received on any one occasion directly and not
through a domestic financial institution, from any person account or place outside the U.S.

9.12 Clearingllntroducing Firm Reiationships

Rules/Resouroes: 31 CFR 103.110; F|NRA Ruie 3310, NASD Ruie 3230, FlN-2006-6003: Freguently Asked
Questions: Foreign Bank Recertifrcations under 31 C.F.R. § 103.77 (Februarv 3l 2006).

A|pine will exchange information, records data and exception reports as necessary to comply with our
contractual obligations and with AML laws.

ln our clearing agreements Aipine has addressed how A|pine and each correspondent firm will apportion
customer and transaction functions and how we will share infom'iation. A|pine understands that the
apportionment of functions will not relieve either of us from our independent obligation to comply with AML laws
except as specifically allowed under the BSA and its implementing regulations

9.13 Training Programs

Ru|es/Resources F|NRA Rule 3310, See NTM 02-21, FinCEN SAR Narrative Guidance Packaqe (11/2003l.
FinCEN Suoqestions for Addressinq Common Errors Noted in Suspicious Activity Reporting (10/10/2007)

Aipine will develop ongoing employee training under the leadership of the AML Oficer or designee with input
from senior management This training may be developed in-house or Aipine may engage the services of an
online training vendor or utilize other media such as educational pamphlets videos explanatory memos This

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training will occur on at least an annual basis and will be based on our firm's size, its customer base, and its
resources and be updated as necessary to reflect any new developments in the law. The AML Oflicer or
designee will maintain records to show the persons trained, the dates of training and the subject matter of their
training The AML Of&cer or designee reserves the right to require specialized training for certain groups within
Alpine, such as Operations Comp|iance, Retail sales etc.

Our training will include, at a minimum: (1) how to identify red flags and signs of money laundering that arise
during the course of the empioyees’ duties; (2) what to do once the risk is identided (including howl when and to
whom to escalate unusual customer activity or other red flags for analysis and, where appropriatel the filing of
SAR-SFs); (3) what employees' roles are in the firm's compliance efforts and how to perform them; (4) the firm's
record retention policy; and (5) the disciplinary consequences (including civil and criminal penalties) for non-
compliance with the BSA

9.14 independent Testing, Eva|uation and Reporting
Ru|es/Resources F|NRA Ruie 3310.01

 

Responsibmty ~ AML Ofticer or designee

 

Po|icies and procedures
Resources o independent testing results

 

o Annual - schedu|e, conduct. and follow up testing (uniess firm qualines for testing
Frequency every two years)

 

identify person(s) to conduct testing

Conduct testing

Report results to CEO in annual compliance report

Revise policies and procedures as necessary

Conduct follow-up fo determine corrective action has been taken

Action

 

independent testing results including who conducted and dates of review
Report to CEO

Record of changes to policies and procedures resulting from testing
Record of follow-up actions

Record

 

 

 

 

The AML Ofticer or designee will be responsible for an annual (on a calendar-year basis) independent testing of
Aipine's policies and procedures regarding money laundering and the effectiveness of the program, as
described in this chapter. The tests performed will be either by an employee of Aipinel if such employee
qualifies pursuant to the SRO rules for independence set forth below, or by a qualified non-empioyee, third
party. At the discretion of Aipine's Board of Directors. the AML Oficer or designee may be directed to conduct
interim testing of Aipine's policies and procedures regarding money laundering and the effectiveness of the
program, if they believe such interim tests are warranted.

SRO rules require that the person(s) conducting the independent testing of Aipine's AML program:

is not the AML Ofticer

is not performing any AML procedures that are being tested and reviewed

is not an individual who is supervised by or othenNise reports to the AML Ocher or to someone who
performs any AlVlL procedures

o is knowledgeable regarding the Bank Secrecy Act, money laundering activities and related regulations

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After Aipine has completed the independent testing, the AML Ofticer or designee will report its findings to senior
management Alpine, under the leadership of the Executive Team will promptly address each of the resulting
recommendations and keep a record of how each noted deficiency was resolved.

9.15 Monitoring Emp|oyee Conduct and Accounts Programs

A|pine will subject employee accounts to the same AML procedures as customer accounts as noted elsewhere
in Aipine's written supervisory procedures Provisions for the review of the AML Ofticer or designee’s personal
accounts are also addressed elsewhere in Aipine's written supervisory procedures Please refer to the section
titled “Emp|oyee and Emp|oyee Re|ated Accounts" for more information

9.16 Confidentia| Reporting of AML Non-Compiiance

Emp|oyees will promptly report any violations of the firm's AML compliance program to the AML Officer, unless
the violations implicate the AML Officer, in which case the employee shall report to the firm's CCO or other
senior leadership Aipine believes that compliance with the AML policies and procedures set forth herein are of
paramount importance and must be facilitated by the firm. All employee reports concerning AML violations will
be kept conidential and no employee ramifications will result from its strict adherence

9.17 Penaities for Non-Comp|iance with A|pine Po|icy or BSA, USA
PATRiOT ACT Or Other AML Ru|es and Regu|ations

An employee may be deemed to be facilitating or participating in money laundering by engaging in a transaction
with a customer (accept a deposit. arrange a withdrawal, effect a trade, etc.) when he or she is aware of. or
willfully ignores the fact that the customer is engaged in illegal activities

Participation in a money laundering scheme or the knowing receipt of proceeds from criminal activities is a
crime. A|pine and its employees are subject to severe criminal, civill and regulatory penalties if they facilitate or
participate in money laundering activities Violations by employees may result in internal disciplinary action up
to and including, tennination.

9.18 Additional Risk Areas
Ru|es/Resources FinCEN advisory on shell companies http://www.fincen.gov/AdvisoryOnSheils_FlNAL.pdf

Aipine has reviewed areas of its business to identify potential money laundering risks that may not be covered in
the procedures described above. Other potential risk areas of risk include shell companies as enumerated
below.

Shell companies can represent a potential money laundering risk. Most shell companies are formed for
legitimate business reasons but some have been used for illicit purposes

"Shell company" refers to non-publicly traded corporations limited liability companies (LLCs), and trusts that
typically have no physical presence (other than a mailing address) and generate little or no independent
economic value. Legitimate purposes including holding stock or intangible assets of another business entity
(such as subsidiary company shares) but are not engaged in active business operations or facilitating domestic
and cross-border currency and asset transfers and corporate mergers Some shell companies have become
common tools for money laundering and other financial crimes primarily because they are easy and
inexpensive to form and operate, and ownership and transactional information can be concealed from regulatory
and law enforcement authorities Most states do not collect cr require disclosure of ownership information at the
formation stage or after (i.e., shell companies can obscure company structure, ownership, and activities), thus
there is little transparency to enable Aipine to understand with whom they are dealing.

Agents that act as intermediaries or nominee incorporation services (NlS) can play a central role in creating.
maintaining, and supporting shell companies Some agents and NlS firms also provide individuals and

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businesses with nominee services that preserve the anonymity of underlying ofhcers, directors and
stockholders

Some risk indicators of shell companies potentially engaged in money laundering are:

o An inability to obtain (through lnternet searches commercial database searches or direct inquiries to
the company‘s foreign correspondent bank) information necessary to identify originators or beneficiaries
of wire transfers

o A foreign correspondent bank exceeds the anticipated volume projected in its client profile for wire
transfers in a given period or an individual company exhibits a high amount of sporadic activity that is
inconsistent with normal business patterns

o Payments have no stated purpose, do not reference goods or services or identify only a contractor
service number.

- Goods or services of the company do not match the company‘s profile based on information previously
provided.

¢ Transacting businesses share the same address provide only a registered agent's address or raise
other address-related inconsistencies

~ An unusually large number and variety of beneficiaries receive wire transfers from one company.
Frequent involvement of beneficiaries located in high-risk, offshore financial centers
Mu|tiple high-value payments or transfers between shell companies with no apparent legitimate
business purpose.

Additional procedures to address this area may include, but not be limited to, the following:

o Checking accounts and owners (if information is available) against OFAC restrictions (applies to all
accounts)

~ Obtaining information about underlying owners

v Obtaining assurances from the shell company representative that principals have been screened

9.19 |dentity Theft Prevention Program (Regulation S-|D: |dentity Theft Red
Flags)

[SEC Securities Exchange Act of 1934 Regu|ation S-lD; Fair and Accurate Credit Transactions Act (FACT Act) Section 114 and 315; F|NRA
Regu|atory Notice 08-69; F|NRA Red F|ags Ruie web site; http://www.finra.orgllndustry/lssueleustomerlnformationProtection/pf18480;
interagency Guidelines on identity Theft Detection. Prevention, and Mitigation:
http:l/www.govoo|lect.orgfliles/Appendix°/oZDA%ZOto%20Part°/¢20681 .pdt]

 

Responsibimy ~ AML Ofticer or designee

 

New account information

Order records

Transaction information about cash or security transfers

information reported by employees

information from third party providers customers victims of identity theft, law enforcement
agencies or others about potential identity theft

Resources

 

When new accounts are opened

Questionab|e account addresses changes

Ongoing - review of order records and transaction information

As received - employee information

As required - when a third party is engaged, confirm third party providers have identity theft
program procedures which may be included in an affirmation in the third party's contract with
A|pine

~ Annualiy - review of controls and procedures

Frequency

 

 

 

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Obtain senior management approval for any material changes to the program and any material
changes to the policy

As needed - update program and provide revisions to senior management for review and
approval of material changes Non-materia| changes to the Po|icy will not require senior
management approvall

|f directed by the CEO, provide revised procedures to the Board or Board committee

Annualiy - report to CEO

Annualiy (or more frequently) - provide training for employees

 

Action

Establish and maintain the identity Theft Program
o Provide initial Program and subsequent material changes to the Board. a Board
Committee or CEO (if no Board exists) for review and approval
o Review controls and procedures annually as part of the annual testing described in the
chapter SUPERV/SORY SYSTEM, PROCEDURES AND CONTROLS
Conduct reviews of orders and transactions to identify red flags
When red flags are identified, take corrective action which may include:
o Consultation with the RR and/or supervisor
Monitoring the account
Contacting the customer
Changing passwords security codes, or other security devices that permit access to an
account
Reopening an account with another account number
Not opening a new account
Closing an existing account
Fi|ing a Suspicious Activity Report
Notifying law enforcement
Taking no action if warranted
Conduct other reviews which may include:
o Periodic use of lnternet search engines to identify web sites using Aipine's or an RR's
name
o Review online advertising to identify web sites for unauthorized links to promote stock
fraud or that appear to be illegitimate
lf Aipine's or an RR's identity is being used in a scam. take action which may include notifying
regulators and the FB|, lodging a complaint at www.ftc.gov, and if it involves email solicitation or
spoofing. fonrvarding email to spam@uoe.gov
|f a customers account has been compromised. take action (described in a section that follows)
lnclude |dentity Theft Prevention Program in the annual report to CEO (see the chapter
SUPERV/SORY SYSTEM, PROCEDURES AND CONTROLS), reporting:
o Effectiveness of the policies and procedures in addressing the risk of identity theft
o Third party provider arrangements
o Significant incidents involving identity theft and management's response
o Recommendations for material changes to the Program
Review third party providers for adequacy of identity theft programs
o Contractua||y require them to have policies and procedures to detect Red Fiags included
in firm policies and report them to A|pine and/or take appropriate steps of their own to
prevent/mitigate identity theft
Training:
o lnclude identity theft in AML training
o Develop training, identify target employees and administer training

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Record

 

 

Po|icies and procedures and revisions

Reviews of orders and transactions with record of action taken

Red flags identified and record of action taken

Annual testing of procedures (see SUPERVISORY SYSTEM, PROCEDURES AND CONTROLS:
Annual report to CEO (see SUPERVISORY SYSTEM, PROCEDURES AND CONTROLS)

 

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» Conlirmation that third party providers have adequate |TPPs and include in the contracts with
third parties
o Records of training including subjects included, date, who administered and who attended

 

 

 

SEC Securities Exchange Act of 1934 Regu|ation S~lD: identity Theft Red Flags (“Red Flags Rule"); F|NRA
Regulatory Notice 08-69; F|NRA Red Flags Ruie web site:
http:l/www.hnra.org/|ndustry/lssueleustomer|nfonnationProtection/p118480; interagency Guidelines on identity
Theft Detection, Prevention. and Mitigation:
http://www.qovcollect.oro/tiles/Appendix%20A%20to%20Part%20681.odf

9.19.1 |dentity Theft Prevention Program Firm Po|icy
Ru|es/Resources Regu|ation S-ID, 17 C.F.R. § 248.201(b)

Our firm's policy is to protect our customers and their accounts from identity theft and to comply with the
Regu|ation S-lD: |dentity Theft Red Flags (“Red Flags Rule"). We will do this by developing and implementing
this written identify Theft Prevention Program (|TPP), which is appropriate to our size and complexity, as well as
the nature and scope of our activities This lTPP addresses 1) identifying relevant identity theft Red Flags for our
Hn'n, 2) detecting those Red Flags 3) responding appropriately to any that are detected to prevent and mitigate
identity theft, and 4) updating our lTPP periodically to reflect changes in risks

Our identity theft policies procedures and internal controls will be reviewed and updated periodically to ensure
they account for changes both in regulations and in our business

9.19.2 lTPP Approval and Administration
Ru|es/Resources 17 C.F.R§ 248. 201 (e) and Appendix A, Section Vl.(a)

Aipine's AML Ofticer is the designated identity theft prevention ofncer and is responsible for the oversight,
development, implementation and administration (including staff training and oversight of third party service
providers of lTTP services) of this lTPP.

Aipine's Executive Committee will review and approve this lTPP whenever there are material modifications to
the policy,

9.19.3 Re|ationship to Other Firm Programs
Rules/Resources: Appendix A, Section l

We have reviewed other policies procedures and plans required by regulations regarding the protection of our
customer information, including our policies and procedures under Regu|ation S-P, and our Customer
ldentification Program (ClP) and red flags detection under our Anti-Money Laundering (AML) Program in the
formulation of this lTPPl and modified either them or this lTPP to minimize inconsistencies and duplicative
efforts

9.19.4 |dentifying Re|evant Red Flags
Ruies/Resources: 16 C.F.R. § 681.1(d)(2)(i) and Appendix Al Section ll

To identify relevant identity theft Red Flags our firm assessed these risk factors: 1) the types cf covered
accounts it offers 2) the methods it provides to open or access these accounts and 3) previous experience with
identity theft. Our firm also considered the sources of Red Flags including identity theft incidents our finn has
experienced, changing identity theft techniques our Hrm thinks likely to occur, and applicable supervisory
guidance. |n addition, we considered Red Flags from the following five categories (and the 26 numbered

 

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examples under them) from Supplement A to Appendix A of the FTC's Red Flags Rule, as they fit our situation:
1) alerts notincations or warnings from a credit reporting agency; 2) suspicious documents; 3) suspicious
personal identifying infon'nation; 4) suspicious account activity; and 5) notices from other sources We
understand that some of these categories and examples may not be relevant to our Erm and some may be
relevant only when combined or considered with other indicators of identity theft. We also understand that the
examples are not exhaustive or a mandatory checklist. but a way to help our firm think through relevant red flags
in the context of our business Based on this review of the risk factors sources and FTC examples of red flags
we have identified our firm's Red Flags which are contained the first column ("Red Flag”) of the attached "Red
Flag identification and Detection Grid’l (“Grid”).

9.19.5 Detecting Red Flags
Ru|es/Resources 17 C.F.R. § 248.201(d)(2)(ii) and Appendix A, Section |ll

We have reviewed our covered accounts how we open and maintain them, and how to detect Red Flags that
may have occurred in them. Our detection of those Red Flags is based on our methods of getting information
about applicants and verifying it under our ClP of our AML policies and procedures authenticating customers
who access the accounts and monitoring transactions and change of address requests For opening covered
accounts that can include getting identifying information about and verifying the identity of the person opening
the account by using the hrm’s C|P. For existing covered accounts it can include authenticating customers
monitoring transactions and verifying the validity of changes of address Based on this review, we have
included in the second column ("Detecting the Red Flag”) of the attached Grid how we will detect each of our
firm's identified Red Flags

9.19.6 Preventing and Mitigating identity Theft

We have reviewed our covered accounts how we open and allow access to them, and our previous experience

with identity theft, as well as new methods of identity theft we have seen or foresee as likely to occur. Based on

this and our review of the Red Flags Ruie and its suggested responses to mitigate identity theft, as weil as other
sources we have developed our procedures below to respond to detected identity theft Red Flags

9.19.6.1 Procedures to Prevent and Mitigate identity Theft
Ru|es/Resources 17 C.F.R. 'i 248.201(d)(iii) and Appendix A, Section lV

When we have been notified of a red flag or our detection procedures show evidence of a red fiag, we will take
the steps outlined below, as appropriate to the type and seriousness of the threat:

Agg|icants. For red flags raised by someone applying for an account;

1. Review the aggiication. We will review the applicants information collected for our ClP under our AML
Program (e.g., namel date of birth, address and an identification number such as a Social Security
Number or Taxpayer identification Number).

2. Get government identification. lf the applicant is applying in person, we will also check a current
government-issued identification card, such as a driver's license or passport

3. Seek additional veriEcation. if the potential risk of identity theft indicated by the red flag is probable or
large in impactl we may also verify the person's identity through non-documentary C|P methods
including:

a_ Contacting the customer

b. independently verifying the customers information by comparing it with information from a credit
reporting agencyl public database or other source such as a data broker or the Social Security
Number Death Master Flie.

c. Checking references with other affiliated financial institutions or

d. Obtaining a financial statement

4. Deny the apglication. |f we find that the applicant is using an identity other than his or her own, we will
deny the account

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5. Report. lf we find that the applicant is using an identity other than his or her own, we will report it to
appropriate local and state law enforcement; where organized or wide spread crime is suspected. the
FBI or Secret Service; and if mail is involved, the US Postal inspector. We may alsol as recommended
by FiNRA's Customer information Protection web page’s “Firm Checkllst for Compromised Accounts,"
report it to F|NRA, the SEC and State regulatory authorities

6. Notification. if we determine personally identifiable information has been accessed, we will prepare any
specific notice to customers or other required notice under state |aw.

Access seekers. For Red Fiags raised by someone seeking to access an existing customers account;

1. Watch. We will monitor, limit, or temporarily suspend activity in the account until the situation is
resolved

2. Check with the customer. We will contact the customer using our ClP information for them, describe
what we have found and verify with them that there has been an attempt at identify theft or partner with
the correspondent firm if it involves one of their direct customers

3. Heightened risk. We will determine if there is a particular reason that makes it easier for an intruder to
seek access such as a customer’s lost wailet, mail theft, a data security incident, or the customer’s
giving account information to an imposter pretending to represent the irm or to a fraudulent web site.

4. Check similar accounts We will review similar accounts the firm has to see if there have been attempts
to access them without authorization.

5. Co|lect incident information. For a serious threat of unauthorized account access we may, as
recommended by FiNRA's Customer lnfonnatlon Protection web page's “Finn Checklist for
Compromised Accounts,” collect if available:

Correspondent Hn'n information. if an introducing brokerage firm

Firm contact name and telephone number

Dates and times of activity

Securities involved (name and symbol)

Detaiis of trades or unexecuted orders

Detaiis of any wire transfer activity

Customer accounts affected by the activity, including name and account number, and

. Whether the customer will be reimbursed and by whom.

6. Rego . if we lind unauthorized account access we will report it to appropriate local and state law
enforcement; where organized or wide spread crime is suspected, the FBi or Secret Service; and if mail
is lnvo|ved. the US Postal lnspector. We may aiso, as recommended by FiNRA's Customer information
Protection web page’s "Firm Checkiist for Compromised Accounts.” report it to F|NRA; the SEC; and
State regulatory authorities

7. Notification. if we determine personally identifiable information has been accessed that results in a
foreseeable risk for identity theft, we will prepare any specific notice to customers and to others where
required by law or regulation.

8. Review our insurance golicy. Since insurance policies may require timely notice or prior consent for any
settlement, we will review our insurance policy to ensure that our response to a data breach does not
limit or eliminate our insurance coverage

9. Assist the customer. We will work with our customers to minimize the impact of identity theft by taking
the following actions as applicab|e:

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Offean to change the password, security codes or other ways to access the threatened account;
Offenng to close the account;

Offering to reopen the account with a new account number;

Not collecting on the account or selling it to a debt collector; and

instructing the customer to go to the FTC identity Theft Web Site to learn what steps to take to
recover from identity theft, including filing a complaint using its online complaint form, calling the
FTC’s identity Theft Hotline 1-877-iD-THEFT (438-4338), `|'|'Y 1-866-653-4261, or writing to
identity Theft Clearinghouse, FTC, 6000 Pennsy|vania Avenue, NW, Washington, DC 20580.

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9.19.7 Aipine Emp|oyees Reporting Obiigations

identity thieves use someone‘s personal identifying information to open new accounts and misuse existing
accounts Aipine has established an identity Theft Prevention Program (|TPP) to help detect and prevent identity
theft. Many elements of detecting or preventing identity theft utilize similar techniques to that of the anli-money
laundering (AML) requirements included within these policies

The lTPP is based on identifying "red flags" which may indicate an occurrence of identity theft. lt is the
responsibility of all employees to be attentive and alert to the red flags and report to the AML officer or
designee any new or existing customers who may be engaged in violations of ami-money laundering
regulations identity theft or who have reported an instance of identity theft

For a list of potential identity theft red flags refer to the section titled "Red Flag ldenliHcation and Detection Gn'd'
located in the ldentity Theft Frevention Program (Red Flags Rule) section

9.19.8 Service Providers
Ru|es/Resources 16 C.F.R. § 681 .1(e)(4) and Appendix A, Section Vl.(c)

We may use other service providers in connection with our covered accounts |n the event we utilize other
service providers we have a process to confirm that any other service provider that performs activities in
connection with our covered accounts especially other service providers that are not otherwise regulated,
comply with reasonable policies and procedures designed to detect, prevent and mitigate identity theft by
contractually requiring them to have policies and procedures to detect Red Flags and report detected Red Flags
to us or take appropriate steps of their own to prevent or mitigate the identify theft.

9.19.9 internal Comp|iance Reporting
Ru|es/Resources Appendix A, Section Vl.(b)

Firm staff responsible for developing, implementing and administering our lTPP will report at least annually to
our Executive Committee on compliance with the Red Flags Ru|e. The report will address the effectiveness of
our lTPP in addressing the risk of identity theft in connection with covered account openings existing accounts
service provider arrangements signincant incidents involving identity theft and management's response and

. recommendations for material changes to our lTPP.

9.19.10 Updates and Annual Review

Our firm will update this plan whenever we have a material change to our operations structure, business or
location or to those of our clearing finn, or when we experience either a material identity theft from a covered
account, or a series of related material identity thefts from one or more covered accounts Our firm will also
follow new ways that identities can be compromised and evaluate the risk they pose for our firm. in addition, our
firm will review this lTPP annually, to modify it for any changes in our operations structure, business or location
or substantive changes to our relationship with our clearing firm.

Rule.' 17 C.F.R. § 248.201 (d)(2)(iv) and Appendix A, SeCliOns V. and VI. (a) & (b).

9.19.11 Red Flag identification and Detection Grid

 

 

 

Red Flag l Detecting the Red Flag
Category: Suspicious Documents
1. identification presented looks altered Our staff who deal with customers
and their supervisors will scrutinize
or forged. identification presented in person to
ake sure it is not altered or forged.
Note: Aipine is not required to take

 

 

 

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teps to determine whether the
ocument has been validly issued.
e may rely on government issued
identification as verification of a
customer’s identity.

 

2. The identification presenter does not look like Our staff who deal with customers
the identifications photograph or physical and their supervisors will ensure
description hat the photograph and the
physical description on the
identification match the person

 

presenting it.
3. information on the identification differs from Our staff who deal with customers
what the identification presenter is saying. and their supervisors will ensure

hat the identincation and the
tatements of the person presenting
it are consistent

 

 

4. information on the identification does not Our staff who deal with customers
match other information our firm has on file for and their supervisors will ensure
the presenter, like the original account hat the identification presented is

pplication, signature card or a recent check. matched to known information we
have on me for the account,

. The application looks like it has been aitered, Our staff who deal with customers
orged or torn up and reassemb|ed. and their supervisors will scrutinize
ach application to make sure it is
not altered. forged, or torn up and

reassemb|ed.

 

 

Category: Suspicious Personal identifying information

 

6. inconsistencies exist between the information if we receive a consumer credit
presented and other things we know about the report, they will check to see if the
presenter or can hnd out by checking readily addresses on the application and

 

 

available external sources the consumer report match.

7. inconsistencies exist in the information that Our staff will check personal

the customer gives us identifying information presented tc
us to make sure that it is internally
consistent

 

8. Personal identifying information presented has Our staff will compare the

been used on an account our firm knows was information presented with
ifrauduient. addresses and phone numbers on
accounts or applications we found
or were reported were fraudulent

 

9. Personal identifying information presented Our staff may validate the
uggests fraud, such as an address that is information presented when
ictitious, a mail drop, or a prison; or a phone opening an account by looking up
umber is invalid, or is for a pager or answering ddresses on the lnternet to ensure
ervice. they are real and not for a mail drop
or a prison, and may call the phone
numbers given to ensure they are
valid and not for pagers or
answerir§iiervices.

 

 

!0. The SSN presented was used by someone Our staff may compare the SSNs
ise opening an account or other customers presented to see if they were given
by others opening accounts or other
customers

 

11. The address or telephone number presented Our staff may compare address and
has been used by many other people opening telephone number information to
jaccounts or other customers ee if they were used by other

 

 

 

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lappiicants and customers

 

12. A person who omits required information on Our staff will track when applicants
an application or other form does not provide il r customers have not responded to
when told it is incomplete requests for required information

nd will follow up with the applicants
or customers to determine why they
have not responded

 

13. inconsistencies exist between what is Our staff will verify key items from
presented and what our firm has on fiie. the data presented with information
we have on fiie.

 

 

14. A person making an account application or Our staff may authenticate identities
Feeking access cannot provide authenticating or existing customers by asking

nforrnation beyond what would be found in a challenge questions that have been
wallet (or consumer credit reportl if applicable) o prearranged with the customer and
cannot answer a challenge question. or applicants or customers by
asking questions that require
information beyond what is readily

vai|ab|e from a wallet or a
consumer credit report.

 

 

Categgry: Suspicious Account Activity

 

15. Soon after our firm gets a change of address We will verify change of address
request for an account, we are asked to add requests by sending a notice of the
additional access means (such as debit cards or change to the old addresses so the
checks) or authorized users for the account, customer will learn of any
unauthorized changes and can
notify us.

 

16_ A new account exhibits fraud pattems such We will review new account activity
vs where a first payment is not made or only the to ensure that payments are madel

irst payment is madel or the use of securities and that credit is primarily used for
easily converted into cash, if margin is permitted ecurities easily converted into
cash, if n§rgin is permitted

_m___

 

 

17. An account develops new patterns of activity,We will review our accounts periodic

 

 

uch as nonpayment inconsistent with prior basis and look for suspicious new
lstcry, a material increase in credit usel or a patterns of activity such as
ateria| change in spending patterns or nonpayment, a large increase in
lectronic funds transfers (if applicabie). credit use, or changes in spending
patterns or electronic fund transfers
(if applicabie).
18. An account that is inactive for a long time is We will review our accounts on a
suddenly used again. periodic basis to see if long inactive

ccounts become very active, if the
circumstances suggest that the
activity may be potentially
uspicious in nature.

 

epeated|y as undeliverabie even though the an account andmay check the
ccount remains active. account's activity, if the
circumstances suggest that the
activity may be potentially
uspicious in nature.

EQ. Niai| our firm sends to a customer is returned e will note any returned mail for
r

 

20. We learn that a customer is not getting his or e will record on the account any

her paper account statements report that the customer is not
receiving paper statements and may
investigate, if the circumstances
suggest that the activity may be

 

 

potentially suspicious in nature

 

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21. We are notihed that there are unauthorized
charges or transactions to the account,

e will verify if the notification is
legitimate and involves a firm
account, and then investigate the
report.

 

 

 

Categgry: Notice From Other Sources

 

22. We are told that an account has been
opened or used fraudulently by a customer. an
identity theft victim, or law enforcement

e will verify that the notification is

legitimate and involves a Hnn
account, and then investigate the
report.

 

23. We learn that unauthorized access to the
customer’s personal information took place or
became likely due to data loss (e.g.l loss of
wallet, birth certificate, or |aptop)l leakage, or
breach.

 

e will contact the customer to

learn the details of the unauthorized

access to determine if other steps
are warrantedl

 

 

9.20 Senior Manager Approval

The AML Oflicer or designee will seek and obtain written approval from the senior management team for any
and ail material changes to Aipine's AML policy. Changes that do not result in a material change to the policy
will not require approval Please refer to the section titled “AML Officer“ for more information,

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